Case 5:12-cv-00114-JPB-JPM   Document 1-1   Filed 07/23/12   Page 1 of 63 PageID
                                   #: 13




         EXHIBIT 1
Case 5:12-cv-00114-JPB-JPM                 Document 1-1               Filed 07/23/12              Page 2 of 63 PageID
                                                 #: 14
                                                                                 Service of Process
                                                                                 Transmittal
                                                                                 06/25/2012
                                                                                 CT Log Number 520744583
   TO:        George Popofski
              Quicken Loans Inc.
              1050 Woodward Ave.
              Detroit, MI 48226

   RE:        Process Served in West Virginia

   FOR:       Quicken Loans Inc. (Domestic State: MI)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


   TITLE OF ACTION:                     Phillip Alig, et al., Pltfs. vs. Quicken Loans, Inc., et al., Dfts.
                                        Name discrepancy noted.
   DOCUMENT(S) SERVED:                  Coversheet, Summons, First Amended Complaint, Exhibit(s)
   COURT/AGENCY:                        Ohio County Circuit Court, WV
                                        Case # 11 C428
   NATURE OF ACTION:                    Quicken Loans materially misrepresented the market value of the Alig's property
   ON WHOM PROCESS WAS SERVED:          C T Corporation System, Charleston, WV
   DATE AND HOUR OF SERVICE:            By Certified Mail on 06/25/2012 postmarked on 06/22/2012
   JURISDICTION SERVED:                 West Virginia
   APPEARANCE OR ANSWER DUE:            Within 30 days after service of this summons, exclusive of the day of service
   ATTORNEY(S) / SENDER(S):             James G. Bordas, Jr.
                                        Bordas & Bordas, PLLC
                                        1358 National Road
                                        Wheeling, WV 26003
                                        304-242-8410
   REMARKS:                             Service of Process made on West Virginia Secretary of State on 06/21 /2012 and sent
                                        to CT Corporation on 06/21 /2012.
   ACTION ITEMS:                        CT has retained the current log, Retain Date: 06/25/2012, Expected Purge Date:
                                        06/30/2012
                                        Image SOP
                                        Email Notification, George Popofski georgepopofski@quickenloans.com
                                        Email Notification, Andy Lusk andrewlusk@quickenloans.com
                                        Email Notification, Amika Thornton amikathornton@quickenloans.com
   SIGNED:                              C T Corporation System
   PER:                                 Amy McLaren
   ADDRESS:                             5400 D Big Tyler Road
                                        Charleston, WV 25313
   TELEPHONE:                           800-592-9023




                                                                                 Page 1 of 1 / RK
                                                                                 Information displayed on this transmittal is for CT Corporation's
                                                                                 record keeping purposes only and is provided to the recipient for
                                                                                 quick reference. This information does not constitute a legal
                                                                                 opinion as to the nature of action, the amount of damages, the
                                                                                 answer date, or any information contained in the documents
                                                                                 themselves. Recipient is responsible for interpreting said
                                                                                 documents and for taking appropriate action. Signatures on
                                                                                 certified mail receipts confirm receipt of package only, not
                                                                                 contents.
          Case 5:12-cv-00114-JPB-JPM              Document 1-1         Filed 07/23/12       Page 3 of 63 PageID
                                    T.                  #: 15

     Office of the Secretary of State



                                                            ii              ii
     Building 1 Suite 157-K
     1900 Kanawha Blvd E
     Charleston, WV 25305
                                                 9171 9237 9000 1000 6921 49
                                                                                                      Natalie E. Tennant
                                                                                                          Secretary of State
                                                                                                     Telephone: 304-558-6000
                                                                                                      Toll Free: 866-SOS-VOTE
                                                                                                           www.wvsos.com


ControlNumber:                                                                                                       338590
            Defendant:                                                                                     Quicken Loans Inc.

County:                                                                                                                       35
                                                                                                                       6/21/2012
     Quicken Loans Inc.                                                              Civil Action:                      11-C-428
     C. T. Corporation System
     5400 D Big Tyler Road
     Charleston WV 25313


   I am enclosing:

              summons                        affidavit                            summons and complaint
              notice                         answer                               summons and verified complaint
              order                          cross-claim                          summons and amended complaint
              petition                       counterclaim                         3rd party summons and complaint
              motion                         request                              notice of materialmans lien
              suggestions                    notice to redeem                     notice of mechanic's lien
              interrogatories                request for production               re-issue summons and complaint
              discovery                      request for admissions               subpoena duces tecum
              suggestee execution            notice of uim claim             1 Summons and 1st Amended Complaint
              subpoena                       writ
              stipulation                    writ of mandamus


 which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have
 accepted service of process in the name and on behalf of your corporation.

 Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
 process in your name and on behalf as your attorney-in-fact. Please address any questions about this document directly
 to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.

 Sincerely,




 Natalie E. Tennant
 Secretary of State
  Case 5:12-cv-00114-JPB-JPM                    Document 1-1         Filed 07/23/12    Page 4 of 63 PageID
                                                      #: 16
                                                         SUMMONS
                       IN THE CIRCUIT COURT OF OHIO COUNTY, WEST VIRGINIA

                                                                       CIVIL CASE NO. 11-C-428
  PHILLP ALIG AND
  SARA ALIG
  AND
  ROXANNE SHEA AND
  DAN SHEA, HUSBAND AND WIFE

  VS.
                                                                                                         rtl
  QUICKEN LOANS INC
  APPRAISALS UNLIMITED, INCORPORATED
                                                                                                         r"1. i""1
                                                                                                   1,0
  DEWEY V. GUIDA
  TITLE SOURCE, INC.
  RICHARD W. HYETT
  PLEASE SERVE:                                                                                    03


  QUICKEN LOANS INC.
c- C/0CT CORPORATION SYSTEM,
  5400 D BIG TYLER ROAD / .
 ICHARLES, WV 25313
  APPRAISALS UNLIMITED INCORPORATED
  C/O DEWEY V. GUIDA, PRESIDENT
  3376 MAIN STREET
  WEIRTON, WV 26062
  DEWEY V. GUIDA
  1012 BARONE DRIVE
  WEIRTON, WV 26062
  TITLE SOURCE, INC.
  D/B/A/ TITLE SOURCE, INC. OF WEST VIRGINIA
  C/O CT CORPORATION SYSTEM
  5400 D BIG TYLER ROAD
  CHARLES, WV 25313
 RICHARD W. HYETT
 RD 1 BOX 406
 MOUNDSVILLE, WV 26041


  TO THE ABOVE NAMED DEFENDANT (S):
       IN THE NAME OF THE STATE OF WEST VIRGINIA, YOU ARE HEREBY SUMMONED AND
 REQUIRED TO SERVE UPON JASON E. CAUSEY, ESQUIRE WHOSE ADDRESS IS 1358 NATIONALA
 ROAD, WHEELING, WV 26003 AN ANSWER, INCLUDING ANY RELATED COUNTERCLAIM YOU MAY
 HAVE TO THE COMPLAINT FILED AGAINST YOU IN THE ABOVE STYLED CIVIL ACTION, A TRUE
 COPY OF WHICH IS HEREWITH DELIVERED TO YOU. YOU ARE REQUIRED TO SERVE YOUR ANSWER
 WITHIN 30 DAYS AFTER SERVICE OF THIS SUMMONS UPON YOU, EXCLUSIVE OF THE DAY OF
 SERVICE. IF YOU FAIL TO DO SO, JUDGMENT BY DEFAULT WILL BE TAKEN AGAINST YOU FOR
 THE RELIEF DEMANDED IN THE COMPLAINT AND YOU WILL THEREAFTER BE BARRED FROM
 ASSERTING IN ANOTHER ACTION ANY CLAIM YOU MAY HAVE WHICH MUST BE ASSERTED BY
 COUNTERCLAIM IN THE ABOligUaWWD CIVIL ACTION.
                           40  ° , p:r (-1-. 6 4'*
         R, VS ,   k
                           4                     '0*
                                      wv,_      m.111,                 BRENDA L. MILLER.
                                                                       CL RK OF COURTIsh.,\

                                                               BY:
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                                                                                       11,
                           654,111- OF ONA‘C)
                               q4mnotiow'
                Case 5:12-cv-00114-JPB-JPM                Document 1-1    Filed 07/23/12     Page 5 of 63 PageID
                                                                #: 17


                                          IN THE CIRCUIT COURT OF OHIO COUNTY, WEST VIRGINIA

                            PHILLIP AUG.  I SARA J. ALIG,
                            ROXANNE SHEA and DANIEL V. SHEA,
                            Individually and on behalf of a class of persons,

                                            Plaintiffs,
                            v.                                                            Civil Action Nos. 428 & 430
                                                                                         . Judge Gaughan
                            QUICKEN LOANS, INC., and
                            TITLE SOURCE, INC. d/b/a TITLE
                            SOURCE INC. OF WEST VIRGINIA,
                            INCORPORATED, DEWEY V. GUIDA,
                            APPRAISALS UNLIMITED, INC., and
                            RICHARD HYETT,

                                            Defendants.


                                                             FIRST AMENDED COMPLAINT

                                    Through their undersigned counsel, Plaintiffs bring this action on their own behalves

                            and on behalf of a proposed class of West Virginians. Plaintiffs allege the following based on

                            personal knowledge as to allegations regarding the Plaintiffs, and on information and belief as

                            to other allegations.

                                                                I.       INTRODUCTION

                                    1.      This action arises out of the conduct of the network of persons and entities

                            involved in facilitating unlawful Quicken mortgage loans in West Virginia. Each Defendant's

                            participation in the origination of Quicken mortgage loans is essential to the enterprise.

     •14                            2.      Defendants, and the claims alleged, include: (a) Quicken Loans, Inc., who
     1IP                    originates the unlawful loans to West Virginia borrowers, charges borrowers a host of unlawful
BORDAS
                            fees, and fails to provide borrowers with signed copies of loan documents at closing as West
BORDAS
ATTORNEYS, PLLC
                            Virginia law requires; (b) Quicken's affiliate, Title Source, Inc., who purportedly performs

1358 National Road          loan-related services for borrowers and extracts unlawful fees from them, and whose
Wheeling, WV 26003
t 304-242-8410
f 304-242-3936
246 West Main Street
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999
bordaslaw.com
               Case 5:12-cv-00114-JPB-JPM              Document 1-1      Filed 07/23/12     Page 6 of 63 PageID
                                                             #: 18


                            participation in the transaction as an undisclosed affiliate violates state consumer-finance laws;

                            and (c) a class of real estate appraisers—represented by Appraisals Unlimited, Inc., Dewey V.

                            Guida, and Richard Hyett (collectively, "Defendant Appraiser Class")—who receive appraisal

                            assignments from Quicken that improperly include the targeted appraisal figure Quicken needs

                            to issue the loans.

                                                   II. IDENTIFICATION OF THE PARTIES

                                      3. Plaintiffs Phillip Aug.
                                                              i Sara J. Alig, Roxanne Shea, and Daniel V. Shea are now,

                            and have been, residents of Ohio County, West Virginia at all times material and relevant

                            herein.

                                      4.    Defendant Quicken Loans, Inc. ("Quicken Loans" or "Quicken") is a

                            corporation organized under the laws of the State of Michigan with its principal place of

                            business located in Livonia, Michigan. Its agent for service of process is CT Corporation

                            System, 707 Virginia Street E, Charleston, West Virginia 25301. Quicken Loans is part of a

                            financial network and wholly owned by Rock Holdings, which is the same parent company that

                            wholly owns Defendant Title Source, Inc. At all relevant times, Quicken Loans was actively

                            engaged in the business of soliciting, writing and administering prime and sub-prime loans to

                            West Virginia residents.

                                      5.    Defendant Title Source, Inc., d/b/a Title Source Inc. of West Virginia ("TSI"), is

                            a corporation organized under the laws of the State of Michigan with its principal place of

     441P                   business located in Troy, Michigan. Its agent for service of process is Jeffrey Eisenshtadt, 1450

BORDAS                      West Long Lake Road, Suite 400, Troy, Michigan 48098. TSI is a sister corporation of
BORDAS                      Quicken Loans, has a close relationship with Quicken Loans, shares office space with Quicken
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                            Loans, and acts as its appraisal management company.
1358 National Road
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t 304-242-8410
f 304-242-3936
246 West Main Street                                                        2
St. Clairsville, OH 43950
t 740-695-8141
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                                                              #: 19


                                    6.      Defendant Appraisals Unlimited, Incorporated is a corporation organized under

                            the laws of the State of West Virginia with its principal place of business located in Weirton,

                            West Virginia. Process is to be served on its president, Dewey V. Guida at 3376 Main Street,

                            Weirton, West Virginia 26062. At all relevant times, it was actively engaged in the business of

                            appraising real property in the State of West Virginia.

                                    7.      Defendant Dewey V. Guida ("Guida") is an individual residing at 1012 Barone

                            Drive, Weirton, West Virginia. At all relevant times, Guida was engaged in the business of

                            appraising real property in the State of West Virginia.

                                    8.      Guida is a long term appraiser for Quicken and TSI performing more than one

                            hundred appraisals of West Virginia properties for them and receiving their highest ranking for

                            appraisers. Appraisals Unlimited and Guida have repeatedly provided Quicken with inflated

                            appraisals and were primary defendants in the predatory lending matters styled, Brown v.

                            Quicken Loans Inc., et al., Ohio County Civil Action No. 08-C-36; O'Brien v. Quicken Loans

                            Inc., et al., Ohio County Civil Action No. 09-C-376; Blankenship v. Quicken Loans Inc., et al.,

                            Ohio County Civil Action No. 10-C-80; and Duncan v. Quicken Loans Inc., et al., Ohio County

                            Civil Action No. 10-C-70.1, from whom significant relief was sought and obtained by way of

                            settlements found to be in good faith by the respective trial courts.

                                    9.      Defendant Richard W. Hyett ("Hyett") is an individual residing at RD 1 Box

                            406, Moundsville, West Virginia. At all relevant times, Hyett was engaged in the business of

                            appraising real property in the State of West Virginia.

BORDAS                              10.     Each of the above-named Defendants is liable for the unlawful acts of the others
BORDAS                      under the doctrines of agency, joint venture, and/or civil conspiracy.
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1358 National Road
Wheeling, WV 26003            Appraisals Unlimited and Guida are also primary defendants in the pending action styled, Cline v. Quicken
t 304-242-8410              Loans Inc., eta!., Marshall County Civil Action No. 11-C-38, from whom significant relief is sought.
f 304-242-3936
246 West Main Street                                                            3
St. Clairsville, OH 43950
t 740-695-8141
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               Case 5:12-cv-00114-JPB-JPM             Document 1-1        Filed 07/23/12    Page 8 of 63 PageID
                                                            #: 20


                                                         III. FACTUAL ALLEGATIONS

                                                         A.       Quicken's Standard Practices

                                            Quicken 's Standard Practice Was To Communicate Target
                                          Appraisal Values To Its Appraisers In Order To Originate Loans

                                   11.     The U.S. Department of the Treasury has defined predatory lending as

                            "engaging in deception or fraud, manipulating the borrower through aggressive sales tactics, or

                            taking unfair advantage of a borrower's lack of understanding about loan terms...that, alone or

                            in combination, are abusive or make the borrower more vulnerable to abusive practice."

                                    12.    As part of its predatory lending practices, Quicken has systematically sought to

                             influence appraisers to provide appraisal values high enough to support issuance of loans.

                                    13.    One of the ways Quicken Loans has sought to influence appraisers is to provide

                            the appraisers with suggested or estimated values on appraisal request forms before the

                            appraisers provide their appraisal reports.

                                    14.    The practice of influencing appraisers has long been condemned by regulators,

                            government agencies, the Appraisal Foundation, and others.

                                    15.    In Brown v. Quicken Loans, Inc.. et al., Civil Action No. 08-C-36 (Cir. Ct. of

                            Ohio County) (Recht, J.), the Court determined that such a practice is contrary to the common

                            law and consumer protection statutes of West Virginia, and concluded that "[no legitimate

                            purpose is served by providing an appraiser with an estimated value of a property. The only

     01::7                  purpose could be to inflate the true value of the property."
     qp                             16.    To obtain a Quicken mortgage loan, a borrower is required to pay the cost of the
BOWS
                            appraisal. Quicken charged borrowers, including the Plaintiffs, for the appraisal cost, but did
BORDAS
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                            not inform them of its efforts to influence the appraisal by passing on target appraisal values to

1358 National Road
Wheeling, WV 26003
                            purportedly independent appraisers.
t 304-242-8410
f 304-242-3936
246 West Main Street                                                         4
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t 740-695-8141
f 740-695-6999
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               Case 5:12-cv-00114-JPB-JPM             Document 1-1       Filed 07/23/12     Page 9 of 63 PageID
                                                            #: 21


                                   17.       Quicken Loan's actions in compromising the integrity of the appraisal process

                            rendered its appraisals unreliable and worthless.

                                                            Quicken's Standard Practice Was
                                                         To Assess Unlawful And Excessive Fees

                                    18.      After Quicken Loans obtained an appraisal value sufficient to sustain the loan,

                            Quicken employed standard practices to charge borrowers, including the Plaintiffs, excessive

                            and unlawful fees.

                                    19.      For instance, Quicken would charge borrowers false, excessive, and unlawful

                            fees for, inter alia, notarial services, document preparation, courier services, and bogus "loan

                            discount" charges.

                                    20.      These fees violate applicable law, and have enriched Quicken at the expense of

                            its borrowers.

                                                     Quicken's Standard Practice Was To Provide
                                                 Borrowers With Unsigned Copies Of Loan Documents

                                    21.      The loans at issue in this case are primary mortgage loans, see W. Va. Code §

                            31-17-1(m), and therefore are subject to the requirements of the Residential Mortgage Lending

                            Act.

                                    22.      At closing, Quicken provided West Virginia borrowers with a thick packet of

                            unsigned loan documents. The packet included documents such as an amortization schedule,

                            appraisal, payoff statement, invoices for closing-related services, insurance information, escrow
     wet
                            disclosures, loan disbursement statement, note, deed of trust, and other critical loan documents.
     1P
BOWS                                23.      The Residential Mortgage Lending Act provides that "[a] borrower must be
BORDAS                      given a copy of every signed document executed by the borrower at the time of closing." W.
ATTORNEYS, PLLC

                            Va. Code § 31-17-8(j)(6).
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t 304-242-8410
f 304-242-3936

246 West Main Street                                                            5
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f 740-695-6999

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              Case 5:12-cv-00114-JPB-JPM              Document 1-1       Filed 07/23/12      Page 10 of 63 PageID
                                                             #: 22


                                   24.     Despite this requirement, West Virginia borrowers, including the Plaintiffs, did

                            not receive a copy of every signed document they executed at the time of closing.

                                                   Quicken 's Standard Practice Was To Charge Fees
                                                  Prohibited By The Residential Mortgage Lending Act

                                   25.       The Residential Mortgage Lending Act provides that "[e]xcept for fees for

                            services provided by unrelated third parties for appraisals, inspections, title searches and credit

                            reports, no application fee may be allowed" except in certain limited circumstances

                            inapplicable in mortgage refinancing cases. See W. Va. Code § 31-17-8(g).

                                   26.       Notwithstanding this limitation, Defendant Quicken charged West Virginia

                            borrowers, including the Plaintiffs, a fee payable to Title Source, Inc.

                                   27.       At the time each loan was closed, Title Source, Inc. was not an unrelated third

                            party, but instead was an affiliate of Defendant Quicken.

                                   28.       The fees designated for Title Source, Inc. cannot be charged under the

                            Residential Mortgage Lender Act.

                                                        B.     The Named Plaintiffs' Allegations

                                                                    The Alig 2007 loan

                                    29.      In late 2007, Quicken Loans solicited the Aligs to refinance their existing

                            mortgage loan.

                                    30.      Quicken Loans arranged for Defendants Guida and Appraisals Unlimited to

     •Nit                   appraise the Aligs' home.
     1P                             31.      Upon information and belief, Quicken followed its standard unlawful practice of
BOWS
                            sending Defendants Guida and Appraisals Unlimited an appraisal request form that included a
BaDAS
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                            target appraisal value in the form of an "estimated value."

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¶304-242-3936
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1         Filed 07/23/12       Page 11 of 63 PageID
                                                             #: 23


                                    32.      Defendants Guida and Appraisals Unlimited issued an appraisal report stating

                            that, as of December 17, 2007, the market value of the Aligs' home was $125,500.

                                    33.      In fact, the market value of the home as of that date was $99,500, a fact the

                            Aligs did not discover until 2011.

                                    34.      Through its appraisal, Quicken Loans materially misrepresented the market

                            value of the Aligs' property.

                                    35.      The Aligs justifiably relied on this misrepresentation, to their detriment.

                                    36.      In reliance on the appraisal, on or about December 27, 2007, the Aligs executed

                            a promissory note in the principal sum of $112,500.00; the note was secured by a deed of trust

                                                                                     i 2007 loan").
                            on the Aligs' property in favor of Quicken Loans (the "Aug

                                    37.      Quicken charged the Aligs $7,043.00 for origination and closing costs. These

                            points, fees and costs were excessive, at least in part, because they were not bona fide, actually

                            incurred by Quicken, reasonable, authorized by contract, or authorized by West Virginia law.

                            The Settlement Statement for this loan is attached as Exhibit A.

                                    38.      The unlawful fees include:

                                             a. Excessive fees for notary services;

                                             b. $260.00 for the bogus Guida/Appraisals Unlimited appraisal;

                                             c. $45.00 for an "Express Mail/Courier Fee" that does not truly reflect the cost
                                                of any express mail or courier service provided with respect to the Alig 2007
                                                loan; and
     •114
     1P                                      d. A "loan discount fee" of 3.5% of the loan amount, or $3,953.25.

BORAS                               39.      The loan discount fee purportedly was a charge for the Aligs to "buy down"
BORDAS                      their interest rate.
ATTORNEYS, PLLC

                                    40.      In fact, the loan discount fee did not reduce the Aligs' interest rate at all.
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Wheeling, WV 26003
t 304-242-8410
f 304-242-3936
246 West Main Street                                                            7
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1        Filed 07/23/12      Page 12 of 63 PageID
                                                             #: 24


                                   41.       Instead, the loan discount fee was simply part of a compensation package

                            Quicken provided to its agents or "mortgage bankers." The package gave Quicken's mortgage

                            bankers the discretion to charge a rate/point/fee structure that exceeds the structure for which

                            its customers qualified. Quicken refers to the revenue generated by the loan discount fee as a

                            "premium," and splits the proceeds between itself and its loan agents.

                                   42.       Quicken Loans' misrepresentation of the loan discount fee is materially false,

                            deceptive, and unfair.

                                   43.       The Aligs did not discover the true nature of these excessive charges until 2011.

                                   44.       The Aligs did not receive signed copies of all loan documents from Quicken at

                            the closing of the 2007 loan.

                                                                    The Alig 2011 loan

                                   45.       In late 2010, Quicken Loans solicited the Aligs to refinance their mortgage loan

                            a second time.

                                   46.       Appraiser Lucas R. Johnson issued an appraisal report stating that as of

                            November 22, 2010, the market value of the Aligs' property was $115,000.

                                    47.      That value was false. At the time, the market value of the Aligs' property was

                            approximately $99,500.00.

                                    48.      Through its appraisal, Quicken Loans materially misrepresented the market

                            value of the Aligs' property.
     •14
     •P                             49.      The Aligs justifiably relied on this misrepresentation, to their detriment.

BORDAS                              50.      In reliance on the appraisal, on or about January 18, 2011 the Aligs executed a
BORDAS                      promissory note in the principal sum of $113,524.00; the note was secured by a deed of trust on
ATTORNEYS, PLLC

                                                                            i 2011 Loan").
                            the Aligs' property in favor of Quicken (the "Aug
1358 National Road
Wheeling, WV 26003
t 304-242-8410
f 304-242-3936
246 West Main Street                                                          8
St. Clairsville, OH 43950
t 740-695-8141
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1        Filed 07/23/12      Page 13 of 63 PageID
                                                             #: 25


                                   51.       Quicken charged the Aligs $5,054 for origination and closing costs. These

                            charges were excessive, at least in part, because they were not bona fide, actually incurred by

                            Quicken, reasonable, authorized by its contracts with the Aligs, or authorized by West Virginia

                            law. The Settlement Statement for this loan is attached as Exhibit B.

                                   52.       The Aligs were charged a standard fee of $45.00 for an "Express Mail/Courier

                            Fee" that does not truly reflect the cost of any express mail or courier service provided with

                            respect to the Alig 2011 Loan.

                                   53.       The Aligs were not provided with signed loan documents.

                                                                    The Shea 2006 loans

                                   54.       In early 2006, Quicken Loans solicited the Sheas for a pre-approved home

                            purchase loan.

                                   55.       Quicken Loans arranged for Defendants Guida and Appraisals Unlimited to

                            perform an appraisal report. The report stated the market value of the home the Sheas intended

                            to purchase was $151,000 as of April 27, 2006.

                                   56.       This appraisal was false. In fact, the market value of the home was $115,500, a

                            fact the Sheas did not discover until 2011.

                                   57.       Through the appraisal, Quicken Loans materially misrepresented the market

                            value of the home.

                                   58.       The Sheas justifiably relied on this misrepresentation, to their detriment.

     1P                            59.       In reliance on the appraisal, on or about May 10, 2006 the Sheas executed two

BORDAS                      promissory notes in the principal sums of $119,475.00 and $29,875.00. The notes were
BORDAS                      secured by deeds of trust on the Sheas' property in favor of Quicken (the "Shea 2006 Loans").
ATTORNEYS, RUC



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t 304-242-8410
f 304-242-3936
246 West Main Street                                                          9
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999
bordasiaw.com
              Case 5:12-cv-00114-JPB-JPM              Document 1-1       Filed 07/23/12     Page 14 of 63 PageID
                                                             #: 26


                                      60.    Quicken charged the Sheas $5,854 for origination and closing costs. These

                            points, fees and costs were excessive, at least in part, because they were nOt bona fide, actually

                            incurred by Quicken, reasonable, authorized by its contracts with the Aligs, or authorized by

                            West Virginia law. The Settlement Statement for this loan is attached as Exhibit C.

                                      61.    The excessive and unlawful fees include $260 for the bogus appraisal, and a

                            "loan discount fee" of $2,986.88, or 2.5% of the loan amount.

                                      62.    The loan discount fee, and all loan discount fees referenced in this complaint,

                            was deceptive, unlawful, unfair and improper for the same reasons stated above with respect to

                            the Aug
                                  i loans.

                                      63.    The Sheas did not discover the true nature of the excessive charges, or of the

                            bogus Guida/Appraisals Unlimited appraisal, until 2011.

                                      64.    Quicken did not provide the Sheas with copies of signed loan documents.

                                                                   The Shea 2008 loan

                                      65.    In mid-2008, Quicken Loans solicited the Sheas to refinance their 2006

                            mortgage loans.

                                      66.    Quicken Loans arranged for Defendant Hyett to appraise the Shea home. Upon

                            information and belief, Quicken followed its standard practice of sending Defendant Hyett an

                            appraisal request form that included a target appraisal value in the form of an "estimated

                            value."
     )0k
     IP                               67.    Defendant Hyett issued an appraisal report stating that, as of July 2, 2008, the

BOWS                        market value of the Sheas' home was $158,000.
BORDAS                                68.    In fact, the market value of the home as of that date was $135,000, a fact the
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                            Sheas did not discover until 2011.
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t 304-242-8410
f 304-242-3936

246 West Main Street                                                        10
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              Case 5:12-cv-00114-JPB-JPM            Document 1-1        Filed 07/23/12      Page 15 of 63 PageID
                                                           #: 27



                                   69.     Through the appraisal, Quicken Loans materially misrepresented the market

                            value of the home.

                                   70.     The Sheas justifiably relied on this misrepresentation, to their detriment.

                                   71.     In reliance on the appraisal, the Sheas executed a promissory note in the

                            principal sum of $155,548. The note was secured by a deed of trust on the Sheas' property in

                            favor of Quicken (the "Shea 2008 Loan").

                                   72.     Quicken charged the Sheas $6,817 in origination and closing costs. These

                            charges were excessive, at least in part, because they were not bona fide, actually incurred by

                            Quicken, reasonable, authorized by its contracts with the Sheas, or authorized by West Virginia

                            law. The Settlement Statement for this loan is attached as Exhibit D.

                                   73.     The unlawful fees include excessive fees for notary services; $430.00 for the

                            bogus appraisal; and $45.00 for an "Express Mail/Courier Fee" that does not truly reflect the

                            cost of any express mail or courier service provided with respect to the loan.

                                   74.     The Sheas did not discover the true nature of these excessive charges until 2011.

                                   75.     The Sheas were not provided with signed loan documents.

                                                                C.     Class Allegations

                                   76.     Plaintiffs bring this action on their own behalf, and on behalf of all other

                            similarly situated individuals, under Rule 23(b)(3) of the West Virginia Rules of Civil

                            Procedure.
     slat
     4P                            77.     The proposed Plaintiff class is tentatively defined as:

BOWS                                       All West Virginia citizens at the time of the filing of this action who,
                                           within the applicable statute of limitations preceding the filing of this
BOiiDAS                                    action through the date of class certification, obtained mortgage loans
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                                           from Defendant Quicken, and (a) were provided unsigned loan
                                           documents at closing, (b) were assessed loan discount, courier, or notary
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f 304-242-3936
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St. Clairsville, OH 43950
t 740-695-8141
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1        Filed 07/23/12    Page 16 of 63 PageID
                                                             #: 28


                                            fees, or (d) for whom Quicken obtained appraisals through an appraisal
                                            request form that included an estimate of value of the subject property,

                                   78.      Rule 23(a) provides that "[o]ne or more members of a class may sue or be sued

                            as representative parties" if the requirements of the Rule are met. W. Va. R. Civ. P. 23(a)

                            (emphasis added).

                                   79.      Under this Rule, Plaintiffs bring this action against a class of Defendant

                            Appraisers. The named representative appraisers are Defendants Guida and Hyett.

                                   80.      The proposed class of Defendant Appraisers consists of:

                                            All real estate appraisers who are citizens of the State of West Virginia at
                                            the time of the filing of this action and who performed appraisals in
                                            connection with home-secured loans on West Virginia on behalf of
                                            Quicken after receiving an appraisal request form with an estimate of
                                            value on it.

                                    81.     The requirements of Rule 23 are satisfied.

                                    82.     The classes are so numerous that joinder of all members is impracticable.

                                    83.     There are questions of law and fact common to all members of the class.

                                    84.     The named Plaintiffs' claims are typical of those of the class as a whole.

                                    85.     The Plaintiffs have displayed an interest in vindicating the rights of the class

                            members, will fairly and adequately protect and represent the interest of the class, and are

                            represented by skillful and knowledgeable counsel. The relief sought by the named Plaintiffs

                            will inure to the benefit of the class generally.

     omit                          86.      The common questions of law and fact predominate over individual questions,
     1P                     and the class action device is superior to other available methods for the fair and efficient
BORDAS
                            adjudication of the controversy.
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              Case 5:12-cv-00114-JPB-JPM            Document 1-1        Filed 07/23/12      Page 17 of 63 PageID
                                                           #: 29


                                                               IV. LEGAL CLAIMS

                                            A.     Claims on Behalf of Plaintiffs and the Proposed Class

                                                            Count One—Civil Conspiracy
                                                              (Against all Defendants)

                                   87.     Plaintiffs incorporate the preceding paragraphs by reference.

                                   88.     By their conduct alleged above, all Defendants and the Defendant Appraiser

                            Class engaged in concerted action to accomplish an unlawful purpose or to accomplish some

                            purpose, not in itself unlawful, by unlawful means.

                                   89.     As alleged above, this conduct caused injury to the Plaintiffs.

                                   90.     By their conduct alleged above, these Defendants have engaged in an unlawful

                            civil conspiracy.

                                   91.     These Defendants combined their money, time, and experience to close the

                            subject loans. Each act undertaken above was in furtherance of and within the scope of this

                            joint effort. Each Defendant benefited from the joint acts.

                                                                  Count Two—UDAP
                                                                (Against all Defendants)

                                   92.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   93.     By their conduct, each Defendant and the Defendant Appraiser Class engaged in

                            unfair or deceptive acts or practices in violation of W. Va. Code § 46A-6-104.

                                   94.     This conduct includes, but is not limited to:
     •It
     4P                                    a.      Depriving Plaintiffs of the benefit of their bargain—specifically, of a fair
                                                  • and unbiased appraisal—by providing value estimates to appraisers and
BORDAS                                             the acceptance of appraisal orders which contained value estimates.
BORDAS                                     b.      Omitting and concealing from Plaintiffs the material fact that value
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                                                   estimates were being provided to the appraisers.

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              Case 5:12-cv-00114-JPB-JPM            Document 1-1        Filed 07/23/12      Page 18 of 63 PageID
                                                           #: 30



                                           c.      Defendant Quicken Loans charged numerous unlawful fees as alleged
                                                   herein. Each unlawful fee constitutes a violation of W. Va. Code § 46A-
                                                   6-104.

                                           d.      Defendant Quicken Loans misrepresented the nature of the "loan
                                                   discount fee." This fee provides no discount to borrowers, but is in fact a
                                                   duplicative broker/lender fee, and is not authorized under West Virginia
                                                   law.

                                                  Count Three—Residential Mortgage Lending Act
                                                               (Against Quicken)

                                  95.      Plaintiffs incorporate herein each allegation in this Complaint.

                                  96.      The "Express Mail/Courier Fees," "Loan Discount Fees," and notary fees are

                            not authorized by W. Va. Code § 31-17-8 (c), (g), and (m)(1).

                                  97.      The "Loan Discount Fee" is in fact a duplicative broker and lender fee, and is

                            misleadingly characterized as a loan discount fee.

                                  98.      The "Express Mail/Courier Fees" are excessive, and exceed or misrepresent the

                            fees actually charged by third-party courier services.

                                  99.      The notary fees are excessive, and exceed or misrepresent the fees actually

                            charged by the third-party notaries performing notary services.

                                                        Count Four—Unconscionable Contract
                                                                 (Against Quicken)

                                   100.    Plaintiffs incorporate herein each allegation in this Complaint.

                                   101.    Plaintiffs incorporate the preceding paragraphs by reference.

     wait                          102.    As a result of Defendant Quicken's conduct as alleged above—including, but
     4P                     not limited to, its passing on target appraisal values to appraisers, charging of illegal fees, and
BORDAS
                            providing unsigned loan documents to borrowers—all or part of the subject loans were
BORDAS
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                            unconscionable at the time they were made, or were induced by unconscionable conduct. See

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              Case 5:12-cv-00114-JPB-JPM              Document 1-1       Filed 07/23/12      Page 19 of 63 PageID
                                                             #: 31



                                          Count Five—Real Estate Appraiser Licensing & Certification Act
                                                      (Against Defendant Appraiser Class)

                                   103.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   104.     Plaintiffs bring this Count on their own behalf, and on behalf of the proposed

                            Plaintiff Class, against the Defendant Appraisers and the proposed Defendant-Appraiser Class.

                                   105.     The Defendant Appraisers and the Defendant-Appraiser Class accepted

                            assignments listing target value numbers on appraisal request forms, and accepted fees

                            contingent upon the reporting of a predetermined value, all in violation of W. Va. Code §§ 30-

                            38-12(3) and 30-38-17.

                                   106.     As a result of these violations, Plaintiffs suffered damages, including the costs of

                            their appraisals.

                                                          Count Six—Unauthorized Charges
                                                                  (Against Quicken)

                                   107.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   108.     Plaintiffs bring this Count on their own behalf, and on behalf of the proposed

                            Plaintiff Class, against Defendant Quicken Loans.

                                   109.     Defendant Quicken Loans charged Plaintiffs and Plaintiff Class members

                            numerous unlawful fees.

                                   110.     Defendant Quicken Loans charged "Express Mail/Courier Fees" in the amount

                            of $45, and "Loan Discount Fees" in the amount of a percentage of the loan amount, and often
  •mi
                            amounted to several thousand dollars. Such fees are not authorized charges under W. Va. Code
  1P
BORDAS                      § 46A-3-109(a) because they are not authorized closing costs or official fees as defined in W.
BOliDAS                     Va. Code §§ 46A-1-102(7) and (28).
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                                                             #: 32


                                   111.     The "Loan Discount Fee," contrary to its name, provides no "discount" to the

                            borrower. To the contrary, it is in fact a second (and impermissible) broker/origination fee.

                                   112.     Defendant also charged Plaintiffs and Plaintiff Class members unlawful notary

                            fees. Notary fees, such as those charged by Defendants, are not allowable closing costs under

                            W. Va. Code § 46A-1-102(7)(d) because under W. Va. Code § 29C-4-301, the maximum

                            notary fee that may be charged is $2.00.

                                   113.     These illegal fees violate W. Va. Code § 46A-2-128(d), which prohibits the

                            collection of fees or charges incidental to the principal obligation if not allowable by law.

                                                            Count Seven—Breach of Contract
                                                                   (Against Quicken)

                                   114.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   115.     Plaintiffs bring this Count on their own behalf, and on behalf of the proposed

                            Plaintiff Class, against Defendant Quicken Loans.

                                   116.     Quicken Loans has a duty of good faith and fair dealing implied in every

                            contract that neither party shall do anything which will have the effect of destroying or injuring

                            the right of the other party to receive the benefit of their contract.

                                   117.     Prior to the consummation of loans, including the above describe loans, Quicken

                            Loans requires potential borrowers, including the Plaintiffs and Plaintiff Class members, to

                            submit a deposit to be used to pay for appraisals and borrowers, including the Plaintiffs, are

     •ft                    required to sign a contract typically titled Interest Rate Disclosure and Deposit Agreement
     1P                     pertaining to each party's rights and responsibilities with respect to payment for appraisals.
BORDAS
                            Plaintiffs along with Quicken Loans executed such a contract.
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                                   118.     Quicken breached its contracts by:

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                                                              #: 33


                                              a.     Depriving Plaintiffs of the benefit of their bargain – specifically, of a fair
                                                     and unbiased appraisal – by providing value estimates to appraisers; and

                                              b.     Omitted or concealing from Plaintiffs the material fact that value
                                                     estimates were being provided to the appraisers.

                                   119.       Quicken's conduct constitutes a breach of the duty of good faith and fair

                            dealing.

                                   120.       As a direct and proximate result of these breaches, Plaintiffs suffered damages,

                            including the cost of the compromised, false and unreliable appraisals.

                                                     Count Eight—Negligence and Negligence Per Se
                                                                (Against all Defendants)

                                   121.       Plaintiffs incorporate herein each allegation in this Complaint.

                                   122.       The Defendants, Appraisals Unlimited, Guida, and Hyett in making the false

                            appraisals as hereinabove alleged, breached the standards for professional practice in violation

                            of W. Va. Code § 30-38-17.

                                   123.       In addition, Defendants, Appraisals Unlimited, Guida, and Hyett breached the

                            duty of care that is required in the appraisal industry, by negligently issuing erroneous appraisal

                            reports upon which the parties relied.

                                   124.       As a direct and proximate result of the above-described conduct, the Plaintiffs

                            are entitled to actual damages, as hereinabove described, and a civil penalty pursuant to W. Va.

                            Code § 30-38-15(c).

     •Nit                                              B.      Claims by the Named Plaintiffs Only
     4P                                             Count Nine—Fraud/Intentional Misrepresentation
BORDAS                                                         (Against all Defendants)
BORDAS                                 125. Plaintiffs incorporate herein each allegation in this Complaint.
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                                                            #: 34



                                    126.    Quicken Loans by way of its acts, omissions and concealments, intentionally

                            made representations to the Plaintiffs that were false and/or made representations with a

                            reckless disregard as to their veracity.

                                    127.    Quicken Loans intended to induce the Plaintiffs to act based on its

                            misrepresentations.

                                     128.   Quicken Loans misrepresentations as to the value of Plaintiffs' properties played

                            a substantial part in inducing the Plaintiffs to enter into the above described loan agreements.

                                     129.   Such reliance on Quicken Loans misrepresentations by the Plaintiffs was

                            justified.

                                     130.   The Plaintiffs further reasonably relied upon the procedures of origination being

                            proper and consistent with prudent industry practices when entering into this loan agreement.

                                     131.   As a direct and proximate result of Quicken Loans misrepresentations, as

                            hereinabove alleged, the Plaintiffs suffered actual damages as hereinabove described.

                                     132.   The conduct of Quicken Loans and TSI, as hereinabove alleged, was done

                            willfully, wantonly, recklessly and/or with complete indifference to their obligations under

                            West Virginia law. Furthermore, the Defendants Quicken Loans and TSI regularly engage in

                            this type of conduct.

                                     133.   The Plaintiffs, in addition to compensatory damages, should be awarded

                            punitive damages in an amount that will punish Quicken Loans and its agent and joint venture
     onit
     1P                     partner 1ST for their wrongful conduct and will deter them and other similarly situated

BORDAS                      institutions from engaging in similar conduct in the future.
BORDAS                               134.   Plaintiffs are further entitled to appropriate equitable relief and the reasonable
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                            attorney fees and costs incurred in this action.
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                                                             #: 35



                                                Count Ten—Illegal Loans in Excess of Fair Market Value
                                                               (Against all Defendants)

                                    135.   Plaintiffs incorporate herein each allegation in this Complaint.

                                    136.   Defendants Quicken Loans and TSI induced the Plaintiffs into loan transactions

                            that exceeded the fair market value of the Plaintiffs' property in violation of W. Va. Code § 31-

                            17-8(m)(8).

                                    137.   Defendants cannot meet their burden of establishing the elements of the

                            affirmative defense set forth in W. Va. Code § 31-17-8(m)(8), as the appraisals at issue do not

                            reflect independent valuations, were not bona fide and do not conform to the Uniform

                            Standards of Professional Appraisal Practice ("USPAP").

                                    138.   As a direct and proximate result of these willful violations, the Plaintiffs are

                            entitled to the following statutory relief: actual damages, to have the loan declared void and to

                            attorneys' fees and costs under W. Va. Code § 31-17-17.

                                    139.   The conduct of the Defendants Quicken Loans and TSI, as hereinabove alleged,

                            was done willfully, wantonly, recklessly and/or with complete indifference to their obligations

                            under West Virginia law. Furthermore, the Defendants Quicken Loans, and TSI regularly

                            engage in this type of conduct.

                                    140.   The Plaintiffs, in addition to compensatory damages, should be awarded

                            punitive damages in an amount that will punish these Defendants for their wrongful conduct

                            and will deter them and other similarly situated institutions from engaging in similar conduct in
     1P                     the future.
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                                                              V. RELIEF SOUGH'T
BORDAS
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                                    On their own behalves, and on behalf of the proposed Plaintiff Class, Plaintiffs seek the

1358 National Road          following relief:
Wheeling, WV 26003
t 304-242-8410
f 304-242-3936
246 West Main Street                                                        19
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t 740-695-8141
f 740-695-6999
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               Case 5:12-cv-00114-JPB-JPM     Document 1-1          Filed 07/23/12        Page 24 of 63 PageID
                                                     #: 36


                              a.    Certification of the proposed classes;

                              b.    Judgment on all counts, together with an award of all available relief;

                              c.    A declaration that Defendants' acts were unlawful;

                              d.    Injunctive relief ordering the Defendants to cease engaging in the conduct
                                    described herein;

                              e.    For each act or practice found to constitute an unfair or deceptive act or practice,
                                    a penalty of the greater of $200 or actual damages under W. Va. Code § 46A-6-
                                    106;

                              f.    For each violation of Chapter 46A, including but not limited to each assessment
                                    of an illegal fee, a civil penalty up to the maximum as provided for under W.
                                    Va. Code § 46A-5-101 & 106;

                              g.    The voiding or modification of the mortgage loans, or a declaration to this
                                    effect, for all class members under W. Va. Code §§ 31-17-17 & 46A-2-121;

                              h.    Disgorgement and restitution of all illegal loan fees;

                              i.    Actual, compensatory, and punitive damages;

                              j.    Attorneys' fees and costs;

                              k.    Pre- and post-judgment interest; and

                              1.    All other appropriate relief.


                                                      JURY TRIAL DEMANDED


                                                                             Plai    s,
                                                                             By


                                                                                   S G. BORDAS JR. #409
                                                                                 ON E. CAUSEY #9482
BORDAS                                                                          RDAS & BORDAS, PLLC
                                                                               58 National Road
BORDAS                                                                         heeling, WV 26003
ATTORNEYS, PLLC
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               Case 5:12-cv-00114-JPB-JPM   Document 1-1   Filed 07/23/12   Page 25 of 63 PageID
                                                   #: 37




                                                                  JOHN W. BARRETT #7289
                                                                  JONATHAN MARSHALL #10580
                                                                  BAILEY & GLASSER, LLP
                                                                  209 Capitol Street
                                                                  Charleston, WV 25301
                                                                  (304) 345-6555




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                                                                              Date"         S8143    J. Aii0                                                     Date"

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   vraa-604 newt .aet 2007rats                     t1U0•11‘ 121041
       1-'7241211'z 12/21 . 1403 11                    rat IIESPA
                                                                                                                                                                           Exhibit A
         Case 5:12-cv-00114-JPB-JPM                                     Document 1-1 Filed 07/23/12 Page 27 of 63 PageID
                                                                   •    _•            #: 39
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 „OM,                                                                                                              0100 Approval No. 2002-0265
                       A. Settlement Statement (HUD-1)

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   ,- ,-, '                                    6. Ello Number:             7. Loon Number:             8. Mottftago Insurance Case Number:
                               -, COnv. Unina.
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4. C -1 V \     0 L:]011.in •                                                                              571-1067590
       -               - ,                       - - - - - • ..                            ------ ---..-------,--.-__
C. Note: This lactic is furnishod to glve you s staternont of actual station-I int costs. Amounts paid to Ind by the settlemant spoilt are shown.
         norm merked "ip,o.c.)" wore paid mnsIdo (ha closing; they ara shown horo for Informational purposos and ate not included in the totals..
         -                      -        -               ---.--              -                                --             -.-----
0. Name Ei. Addrese of Borrowor:                          E. Name & Addrose ol Seller:                     F. NMI) & Address 01 London
Phillip A. Alin                                                                                            Quicken Loans Inc.
See ,1. Alin

1911     stood In                                                                                      1050 Woodward Ave
Wheeling, WV 26003-5416                                                                                Detroit. MI 40220.1905
                                                                                      -
G. Property Location:                                  It. SettleMont Agent:                           L Settiensant NUR
1911 Highland In                                       Title SourCe. Int                               JOALlary 10.    2011
           WV 26003- 6418
                                                       (300242 - 4263_                         .Disbursement Date: 01124111
                                                               Settlement:
                                                       1971 litelland La. Wee! ing.,14V 20003-5410
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tpt_,Contract se. lositice                     ___________                 401. contrast solos:ow) ________ _. __
102. Porsookproporty.                                                      402. Personal property_
 02..lottlernatu charges to borrower lline 14001         I-5.054.41        403.
104.111tf, IIDN LOANS SERVICI                          $109,090.61         404.                                        _______
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107. County taxes                      to                                  407. County tOssei___ ,”?                ------                   -----
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112.                                                                       4,12.
120. °MSS An10011t Om front Dotrowor          $114.946.06                  420. dross Amount Duo to Sono,'
200. AMOU1110 Pohl by or in Oohed of Sorrower                              000. nodal:Mons In Amount Due to Sailor
201. Dopos(l or earnest money          --                                  501. Excess doposlt woo (nstructions)
202. Principal amount of now loads)_          $113,524.00                  602. Sottioinont slams tO solo, ton° Inpot .____        .....,.
203. Existing lost*/ token sultioct to                                     003. Mileang toan(o)subject
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204.600d Faith Deposit to Quicken Wens Inc.       $750.00                                      nort
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205.1e0der Credit                                 $709.50                  006. rayon' (it s000nd moitege tom
200.                                  -                                    000;                      - -                                       -
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200.                                             608.
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210. Crty/town loxes             to               610. City/town texas              to
211. County taxes               to               611. County toxos                  to
 212. AfnInOstoonis                    tu                                   612. Assessments                  to                              --
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 217.                                                                      517.
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 220. Totul         itylfor Borrowor                    S114,,9133.50      020. Total Goduction Amount Rue Soller
 300. Cash at Sottlement itomIto Sallower                                  000. Cush et Sottlomont togrom Millar
 301. Gross amount due from 110nOWOf Moe 1201        3114.945.06           001, dross amount due to seller 010 4201
 302. Lass amounts paid by/for botrowor (lino 220)( 1114.903.50            002. Loss roductions lit amount ,dua setior ((inn 62011_

 303. Cosh ...]      r From 1.1011'f0 (Sorrows(              $30.44       003. Cosh 11 To           El Roo, sego,
Tiro Public Mewling Cordon tor this colic:Mien of information is estimated at 36 minmos tier rosoonso tor collecting, roviewing, and reporting
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control numboi. No confidentiality is 036l1f00: this disclosure fs mood nosy. This is ttosIgned to paned° the pathos to o RESPA GOVOTOd
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S•lflemeni 514tuficry t                                        Precious ed,tiOnf, OM OW:CMHU1).I lutiros
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                                                                                                                                                             Exhibit B
        Case 5:12-cv-00114-JPB-JPM                                                             Document 1-1                                 Filed 07/23/12                               Page 28 of 63 PageID
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701. 6                      to                                                                                                                                      Funds ot           Funds at
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702. 4                      to                    -,
703. Commission gaid at settlement

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 006. Tax service to                                                                                                  Worn GEE 1131
 807, Flood eardfication CoreLogi C_FIROO SCSVIC.9,5 ..... _._.____ _                                             _   Mointnr/3)______                                     S5.00
808. Flood 9etermination Fee CoreLoqic flood Services
812. Tax Corti( ication Fee Title Source. Inc.                                                                                                                           818.00

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 904. Homeowners Insurance Premium PreviouslVaid;___, $455. °49                     _           _         _                   - ____
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 sm. Memos Dopositod whit tondos
  1001. Wide! &posh for_your escrow account                                            Morn GEE 1/91                      $881.74
  1002. Homeowner's insuraneo                                11 months @8 37.96 par month 8                  417.56
  too. m00 0p. insurance                                      1 months @ 6 83.68 par month 6                  83.68
..1,024. plepplAtex?s oato COUNTY_                        - 9 months @ 4 72.26 kir month 6                   650.34 ,,:/'     4                                                  / ,/ / //,"/
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  1007.                                                           munthe 0 4                kor month 0              /            Ar/iefe
  1008.                                                           months 0 9                por,month $                           A/
  1009.                                                           montito 0 6               pot month 0               e //// Ze°
_Jo's): Aggfegoto Adjustment                                                                          8     -269.84 '             4'                                /
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  1101, Titla sorvicos and yoldnrs.ple tuttranco_______             ... ..... ____     Morn OH I/41_                   $1. 165.12
  1102. &Moment of closing f oo Title Source , Inc.                               S-676.00                            71
  1103. OWACtr16 lupo_Intivparo                                                        tom 0irt.561.
  1104. Undoes Olio Insuronco 0
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  1 ' 06. Lender's Ono policy limit 5 133.524:00
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.1108,9n8e,rwilup's.pojton of _Ma totpl tlitoinsuranespromium s „59.26 ____ _____
 1109. Abstract or Title Search TITLE SOURCE:1NC.
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                                                                                                                                                                        i. / /
                                                                         -          8160.00
  1130. ALTA 8.1 Environmental Protection Lien TITLE SOURCE. INC.                   $100.00
 1131. ALTA 9 Restrictions. Encroachments, Minerals TITLE SOURCE, INCS100.00
  1137. Express Mail/Courier Fee                                                     $45.00

1200. Govornment floourd19.0 and Minster Mown
i2O1. Govommom recordinashorgos                                                          -                    _       mom WE //7)                                         $22.00
'1202. Mao 0                        Mortgego 4 22.00                                         Releases                                                                                       //X
1203. Transfer touro                                                                                                  {tram GFE FM
1204. City/County talc/stamp         Mod 8                                    _            Wig ogo 0                                                                         /r / r fer 4
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 Sistilatnent Statement                                                                rsevnws adn'ions ate absotate                                                                   Iwo.' tirtme
 Sleheoa )(h,vs, •tna,lat Som.!.          vtAY                                                                                                                   P. O . 2 o, 4     VMFGOIrn Iona) 00


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Case 5:12-cv-00114-JPB-JPM                                Document 1-1                     Filed 07/23/12                  Page 29 of 63 PageID
                                                                 #: 41
    A. HUO UM-VIM SE: I I LtIOUN I STATEMENT
          ocral*IW
              .0 a n INUS..1.111********.l...1*.MorbeVlarvaseMIT*.oules**3.071.0,*.......41
   Trr
    1.1) Ft/A 2.t I FniNA 3.[X ) Cony. Lining .       6. File Number:              1. Loan Number:        6. Mortgage insurence Case Number:
    44) VA 6.0 Cow. Ins.
    C. NOTE; This form furnishes a statement of settlement Costs, Amen s paid to and by the so liement agent ere shown. hems marked
               were peed outside the closing; they are shown tor Informational purposes and are no included In the totals.
  • D: Name & Address of Borrower:                    E. Name, Address & TIN of Seller:                    F. Name & Address of Lender:
    Roxanne Shea                                      Mary Jane Pauley                                     Quicken Loans Inc. •
    21 Ridgewood Avenue                               21 Ridgewood Avenue                                  20555 Victor Parkway
    Wheetna_ WV 26003                                 Wheelino                       JV 26003              Livonia              , MI 48152 •
    0, Property Location:                             TIN of Seiler;                                       H. Settlement Agent:
     21 Ridgewood Avonue                              Place of Sottlemeet                                  Ihionfold Law Office
    VTheeling, WV 26003                               713 V= Fourteenth Street
                                                      Wheel in g, WV 26003                                 I. Settlement Date: May 10. 2006
     J. $umm ,, offowor's Transaction                                           K. Summary of Seller's Transaction
     100. Grose Amount Due from Borrower:                                       400. Gross Amount Due to Seller:
     101. Contract sales price                   ..----,-         149,350.00 401. Contract sales price                                       149 350.00
    .10.22erely                                                                 402. Personal Propery  t _
     103. Borrower's settlement charges (line 1400)                  6,854.00 403.
      104.                                                                      404.                             .
                                                      __                        405.                                                     -
     Austinents for item spatillLeoller in advance                              Adjustments for Items paid by seller in advance
      106. City/lOwn taxes                    to                           0.00 408. City/town taxes                    to                       -7105-
      107. County taxes                       to                           0.00 407. County taxes                       to                          '0.00
      108. Assessments           5/10/06      to 6/30/06                  10.60 408. Assessments •          5/10/08     to 6/30100                  um,
      109.                                    to                           0.00 400.                                    to                           0.015
      110.                                -.                           _.,„..    410.
      111.                                                              .        411.                              _
      112.                                                                       412,
      113.                                                                       413.
      120. Gross Amount Due from Borrower .                       155,214.08 420. Gross Amount Duo to Seller                                  149 360,08
      200. Amounts Paid by or In Behalf of Borrower:                             600, Reductions In Amount Duo to Seller:                          -
      201. Deposits or earnest mone                                              601. Excess deposit (see Instructions)                          -
     .202.4truouplefmtyloat               _ge.)                    110,476.00 602. Settlement ehar es to seller line 1400                          003.80
      203. Eidsting loan(s) taken subject io                                     603. E)Mir.419. 1eD,ewn sub alto
      204.                                                                       504. Payoff of first mortgage to The Citizens Bank            34 235.55
      2013. Credit for applipation deposit                              360.00 506. ,Peyoff of second mertearm
                              cost                                    4,360.00 500. Seller closing cost credit                                   4,350.00
       , .•                                                                           .
      208. Proceeds from second loan                                 28,354.82 508.
       209. •                                                                    609,                   .
      " uimilis
            st       f°1 11eins unpaid
     -.±.-------....kinP15,-......--- -                                          Adjustments for items unpaid by seller
       210. Chyltovvn taxes                    to                           0.00 510. City/town taxes ,                  to                           0.00
      211. Count taxes             111108      to 6/10/06               210,65 511. County taxes             1/1/06      to 6110/06                219.55
       212. Assessments                        to                           0.00 612. Assessments                        to                           0.06-
       213.                                    to                           0.00 613.                                    to •                         0.00
       214.                                         •                             614.
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       218.                                                                       518.
       210.                                                                       510.                                                                    ._.
                  .2eL
      .22.04.15.911    I 8 /for Borrower                            162 749.37 620. Total Reduction Amount Duo Boller                           39.460.00
       300. Cash at Settlement From/to Borrower                                   000. Cash at Settlement To/from Seller
       301. Gross amount due from borrower line 120                 156.214.60 601. Gross amount due to seller (ifee 7120)                     149 300.08
       302. Less amounts old h tfor borrower line 220              152 740.37 802. Loss reductions In amount due seller (line 620)              39,466.00
       303. Cash       •'..i from [Ito Borrower                       2.466.31 003. Cash g. to                  from Seller                    109,801.78

                                                            Substitute Fenn 1009 Seller Statement

       The Information In Blocks E. G, H. I &line 401 (or. If lino 401 is asterisked, line 403 and 404)1s important tax Information ond is being furnished
       to the Internal Revenue Service. If you are required to file a return, a sanction wi g be imposed on you If this item Is required to be reported and
       ilte IRS determines that It has not been reported. If this real estate Is your principal residence. file Form 2110, Salo or Exchango of Principal
       Rosklonco, for any gain, with your income tax return; for other traneactions, complete the applicable parts of Form 4797, Form 6262 and/or
       Schedule 0 (Form t040). You ore required to previeki the Settlement Agent (named above) with your correct taxpayer identification number. If
       you do not provide the Settlement Agent with your taxpayer identification number, you may be subject to civil or criminal penalties imposed by
       law. Under penalties of perjury, I certify ihat the number shown on this statement is ley correct taxpayer identification number.


                                                                      (Seller)            •-tri ORA,                G111,-pf ley6e ----
                                                                                                                           tta                            (Setter)
                                                                                                                                                             der)
                                                                                                          MaryJar




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                                                                                                                                                                     Exhibit C
Case 5:12-cv-00114-JPB-JPM                                           Document 1-1                        Filed 07/23/12                        Page 30 of 63 PageID
                                                                            #: 42
     rue. toter tiatoornroaors uommisetom loosen spricoi                  149,350.00 0        6/.                                         Paid from                                paid From
         Division ofCgpoissicinIDIfmt
                                  kne 700 t                                                                                               Borrower's                                Seller's
    701,____,        . _____                                                                                                               Funds at                                 Funds at
     702.                                                                                                                                 Settlement                               Settlentent
     703. CommIssion_paid at Settlement                                                                                                                                                      0.00
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       100e. Aggregate Accounting AdIestment
       1100. Title Charges
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     1. 100. Notary tees
     tier; Attorney's tees                                                                 ___
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         _(tpcludes above item mterbers
     'ltoo, Lender's coyeramt$119___
      1110. Owner's coverage
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      1200. Rovenmstalgg calgg._gglimagraarge_s____                                                                                                                                      -
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      10. Pity/county textelet»Dsz..            Deed 657.80      Magm                                                                                                                    657.00
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      1Z114, VODNOMNOR to Quicken Loans                                                                                                                                                  -
      1308.                                                                                                                                                                    -
      1307
      1308,
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      1400. Total Settlement Chorgoe (This Number Transfore to Linos 103 Sr 602 Abovel
                                                                 CERTIFICATION
      I have carefully reviewed the 11U0-1 Settlement Statement and to the best of my knowledge and belief, Ills a true and acce eta statement of
                                                                                                                                                        6                              __,D_QM

      all receipts and disbursements made on my account or by me in this transaction. I further certifythat I have rec Nod a copy of tho
      Settlement Statement..
                                                               Seller                                                      te4_,_Borrower
                                                                                                   Ro anno Shea
                                                               Seller                                                              Borrower     /.........•••■■■■■••••■■•■••




                         k owlodge the tit/0 -1 Set e ont Statement which I have prepared Is tare an accurate account of the funds which were
      To the hest of my i;
      received end ha 0 een or 4ilii be 4 h 1         the undersigned as part of the settlement of thls transaction.
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                                                       ; .--Settlement Agent                                    1 Date
                                    .LLC
                    lh e»fold La 011i4e
       WARNING: (lire clime to knowingly make lelso Stotorrierlto to the United Stales on this or any other sinelar form. Penalties upon conviction can Includes Ono and Inviter:0mm
       For details tee: TWO 18 U.S. Code Section 1001 and Section 1010.




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               Case 5:12-cv-00114-JPB-JPM                                                                Document 1-1                                       Filed 07/23/12                             Page 31 of 63 PageID
                                                                                                                #: 43                                                                             •




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                                                                                                            Narita 8( Addiessef.:1.,unifull •••• •

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   21 Ridgewood Ave                                                                                             Livonia, MI 46162 •                                                          Afiest ro8ld0t
   VV11001ing, WV 26003                                                                                                                                                                  •      r.Ntl00;0.0..
                                       -?).;;-ti-1;;;;;E--                                                      Sallhanont Agoni:
   21 Ridgewood Ave                                                                                             Iltto SOUtea. Inc,
   Wheeling. WV 20003                                                                                                                                                                    .                 .
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Case 5:12-cv-00114-JPB-JPM                 Document 1-1               Filed 07/23/12               Page 33 of 63 PageID
                                                  #: 45
                                                                                    Service of Process
                                                                                    Transmittal
                                                                                    06/25/2012
                                                                                    CT Log Number 520745120
    TO:        George Popofski
               Quicken Loans Inc.
               1050 Woodward Ave.
               Detroit, MI 48226

    RE:        Process Served in West Virginia

    FOR:       Quicken Loans Inc. (Domestic State: MI)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


    TITLE OF ACTION:                     Phi lli p Alig, et al., Pltfs. vs. Quicken Loans, Inc., et al., Dfts.
    DOCUMENT(S) SERVED:                  Letter, Summons, First Amended Complaint, Exhibit(s)
    COURT/AGENCY:                        Ohio County Circuit Court, WV
                                         Case # 11 C430
    NATURE OF ACTION:                    Plaintiff's received damages and seeks compensatory and punitive damages due to
                                         defendants wrongful conduct
    ON WHOM PROCESS WAS SERVED:          C T Corporation System, Charleston, WV
    DATE AND HOUR OF SERVICE:            By Certified Mail on 06/25/2012 postmarked on 06/22/2012
    JURISDICTION SERVED:                 West Virginia
    APPEARANCE OR ANSWER DUE:            Within 30 days after service of this summons, exclusive of the day of service
    ATTORNEY(S) / SENDER(S):             James G. Bordas Jr.
                                         Bordas & Bordas, PLLC
                                         1358 National Road
                                         Wheeling, WV 26003
                                         304-242-8410
    REMARKS:                             Process served/received by Secretary of State of West Virginia on June 21, 2012 and
                                         mailed to C T Corporation System on June 22, 2012
    ACTION ITEMS:                        CT has retained the current log, Retain Date: 06/25/2012, Expected Purge Date:
                                         06/30/2012
                                         Image SOP
                                         Email Notification , George Popofski georgepopofski@quickenloans.com
                                         Email Notification, Andy Lusk andrewlusk@quickenloans.com
                                         Email Notification, Amika Thornton amikathornton@quickenloans.com
    SIGNED:                              C T Corporation System
    PER:                                 Amy McLaren
    ADDRESS:                             5400 D Big Tyler Road
                                         Charleston, WV 25313
    TELEPHONE:                           800-592-9023




                                                                                    Page 1 of 1 / JK
                                                                                   Information displayed on this transmittal is for CT Corporation's
                                                                                   record keeping purposes only and is provided to the recipient for
                                                                                   quick reference. This information does not constitute a legal
                                                                                   opinion as to the nature of action, the amount of damages, the
                                                                                   answer date, or any information contained in the documents
                                                                                   themselves. Recipient is responsible for interpreting said
                                                                                   documents and for taking appropriate action. Signatures on
                                                                                   certified mail receipts confirm receipt of package only, not
                                                                                   contents.
          Case 5:12-cv-00114-JPB-JPM                Document 1-1       Filed 07/23/12       Page 34 of 63 PageID
                                                           #: 46

    Office of the Secretary of State
    Building 1 Suite 157-K
    1900 Kanawha Blvd E
    Charleston, WV 25305
                                                 9171 9237 9000 1000 6921 32
                                                                                                      Natalie E. Tennant
                                                                                                          Secretary of State
                                                                                                     Telephone: 304-558-6000
                                                                                                      Toll Free: 866-SOS-VOTE
                                                                                                           www.wvsos.com


ControlNumber:                                                                                                           338589
            Defendant:                                                                                        Quicken Loans, Inc.


                                                                                         County:                              35
                                                                                                                       6/21/2012
     Quicken Loans, Inc.                                                             Civil Action:                     11-C-430
     C. T. Corporation System
     5400 D Big Tyler Road
     Charleston WV 25313



  I am enclosing:


          summons                            affidavit                           summons and complaint
              notice                         answer                              summons and verified complaint
              order                          cross-claim                         summons and amended complaint
              petition                       counterclaim                        3rd party summons and complaint
              motion                         request                              notice of materialmans lien
              suggestions                    notice to redeem                     notice of mechanic's lien
              interrogatories                request for production               re-issue summons and complaint
              discovery                      request for admissions               subpoena duces tecum
              suggestee execution            notice of uim claim             1 Summons and lst Amended Complaint
              subpoena                       writ
              stipulation                    writ of mandamus


 which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have
 accepted service of process in the name and on behalf of your corporation.

 Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
 process in your name and on behalf as your attorney-in-fact. Please address any questions about this document directly
 to the court or the plaintiff's attorney, shown in the enclosed paper, not to the Secretary of State's office.

 Sincerely,




 Natalie E. Tennant
 Secretary of State
 Case 5:12-cv-00114-JPB-JPM      Document 1-1       Filed 07/23/12   Page 35 of 63 PageID
                                        #: 47
                                       SUMMONS
                  IN THE CIRCUIT COURT OF OHIO COUNTY, WEST VIRGINIA


                                                       CIVIL CASE NO. 11-C-430
 PHILLP ALIG AND
 SARA ALIG
 AND
 ROXANNE SHEA AND
 DAN SHEA, HUSBAND AND WIFE

 VS.
 OUICKEN LOANS INC
 APPRAISALS UNLIMITED, INCORPORATED
 DEWEY V. GUIDA
 TITLE SOURCE, INC.
 RICHARD W. HYETT
 PLEASE SERVE:
C- QUICKEN LOANS,INC.
 (C/O CT CORPORATION SYSTEM
   5400 - D BIG TYLER ROAD
   CHARLES, WV 25313
 APPRAISALS UNLIMITED INCORPORATED
 C/O DEWEY V. GUIDA, PRESIDENT
 3376 MAIN STREET
 WEIRTON, WV 26062
 DEWEY V. GUIDA
 1012 BARONE DRIVE
 WEIRTON, WV 26062
 TITLE SOURCE, INC.
 D/B/A/ TITLE SOURCE, INC. OF WEST VIRGINIA
 C/O CT CORPORATION SYSTEM
 5400 D BIG TYLER ROAD
 CHARLES, WV 25313
 RICHARD W. HYETT
 RD 1 BOX 406
 MOUNDSVILLE, WV 26041


 TO THE ABOVE NAMED DEFENDANT(S):
       IN THE NAME OF THE STATE OF WEST VIRGINIA, YOU ARE HEREBY SUMMONED AND
 REQUIRED TO SERVE UPON JASON E. CAUSEY, ESQUIRE WHOSE ADDRESS IS 1358 NATIONALA
 ROAD, WHEELING, WV 26003 AN ANSWER, INCLUDING ANY RELATED COUNTERCLAIM YOU MAY
 HAVE TO THE COMPLAINT FILED AGAINST YOU IN THE ABOVE STYLED CIVIL ACTION, A TRUE
 COPY OF WHICH IS HEREWITH DELIVERED TO YOU. YOU ARE REQUIRED TO SERVE YOUR ANSWER
 WITHIN 30 DAYS AFTER SERVICE OF THIS SUMMONS UPON YOU, EXCLUSIVE OF THE DAY OF
 SERVICE. IF YOU FAIL TO DO SO, JUDGMENT BY DEFAULT WILL BE TAKEN AGAINST YOU FOR
 THE RELIEF DEMANDED IN THE COMPLAINT AND YOU WILL THEREAFTER BE BARRED FROM
 ASSERTING IN ANOTHER ACTION ANY CLAIM YOU MAY HAVE WHICH MUST BE ASSERTED BY




                                              BY:
               Case 5:12-cv-00114-JPB-JPM             Document 1-1       Filed 07/23/12     Page 36 of 63 PageID
                                                             #: 48



                                           IN THE CIRCUIT COURT OF OHIO COUNTY, WEST VIRGINIA

                            PHILLIP ALIG, SARA J. ALIG,
                            ROXANNE SHEA and DANIEL V. SHEA,
                            Individually and on behalf of a class of persons,

                                            Plaintiffs,
                            v.                                                            Civil Action Nos. 428 & 430
                                                                                          Judge Gaughan
                            QUICKEN LOANS, INC., and
                            TITLE SOURCE, INC. d/b/a TITLE
                            SOURCE INC. OF WEST VIRGINIA,
                            INCORPORATED, DEWEY V. GUIDA,
                            APPRAISALS UNLIMITED, INC., and
                            RICHARD HYETT,

                                            Defendants.


                                                          FIRST AMENDED COMPLAINT

                                    Through their undersigned counsel, Plaintiffs bring this action on their own behalves

                            and on behalf of a proposed class of West Virginians. Plaintiffs allege the following based on

                            personal knowledge as to allegations regarding the Plaintiffs, and on information and belief as

                            to other allegations.

                                                               I.      INTRODUCTION

                                    1.      This action arises out of the conduct of the netvvork of persons and entities

                            involved in facilitating unlawful Quicken mortgage loans in West Virginia. Each Defendant's

                            participation in the origination of Quicken mortgage loans is essential to the enterprise.

     olt                            2.      Defendants, and the claims alleged, include: (a) Quicken Loans, Inc., who

                            originates the unlaw-ful loans to West Virginia borrowers, charges borrowers a host of unlawful
BORDAS
                            fees, and fails to provide borrowers with signed copies of loan documents at closing as West
BORDAS
ATTORNEYS, PLLC
                            Virginia 1aw requires; (b) Quicken's affiliate, Title Source, Inc., who purportedly performs

1358 National Road          loan-related services for borrowers and extracts unlawful fees from them, and whose
Wheeling, VVV 26003
t 304-242-8410
f 304-242-3936

246 West Main Street
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999

bordaslaw.com
              Case 5:12-cv-00114-JPB-JPM               Document 1-1      Filed 07/23/12     Page 37 of 63 PageID
                                                              #: 49



                            participation in the transaction as an undisclosed affiliate violates state consumer-finance laws;

                            and (c) a class of real estate appraisers—represented by Appraisals Unlimited, Inc., Dewey V.

                            Guida, and Richard Hyett (collectively, "Defendant Appraiser Class")—who receive appraisal

                            assignments from Quicken that improperly include the targeted appraisal figure Quicken needs

                            to issue the loans.

                                                    II. IDENTIFICATION OF THE PARTIES

                                      3. Plaintiffs Phillip Alig, Sara J. Alig, Roxanne Shea, and Daniel V. Shea are now,

                            and have been, residents of Ohio County, West Virginia at all times material and relevant

                            herein.

                                      4.     Defendant Quicken Loans, Inc. ("Quicken Loans" or "Quicken") is a

                            corporation organized under the laws of the State of Michigan with its principal place of

                            business located in Livonia, Michigan. Its agent for service of process is CT Corporation

                            System, 707 Virginia Street E, Charleston, West Virginia 25301. Quicken Loans is part of a

                            financial network and wholly owned by Rock Holdings, which is the same parent company that

                            wholly owns Defendant Title Source, Inc. At all relevant times, Quicken Loans was actively

                            engaged in the business of soliciting, writing and administering prime and sub-prime loans to

                            West Virginia residents.

                                      5.     Defendant Title Source, Inc., d/b/a Title Source Inc. of West Virginia ("TSI"), is

                            a corporation organized under the laws of the State of Michigan with its principal place of
     •ilit
     1P                     business located in Troy, Michigan. Its agent for service of process is Jeffrey Eisenshtadt, 1450

BORDAS                      West Long Lake Road, Suite 400, Troy, Michigan 48098. TSI is a sister corporation of
BORDAS                      Quicken Loans, has a close relationship with Quicken Loans, shares office space with Quicken
ATTORNEYS, PLLC

                            Loans, and acts as its appraisal management company.
1358 National Road
Wheeling, WV 26003
t 304-242-8410
f 304-242-3936
246 West Main Street                                                         2
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999
bordaslaw.com
               Case 5:12-cv-00114-JPB-JPM              Document 1-1         Filed 07/23/12       Page 38 of 63 PageID
                                                              #: 50



                                    6.      Defendant Appraisals Unlimited, Incorporated is a corporation organized under

                            the laws of the State of West Virginia with its principal place of business located in Weirton,

                            West Virginia. Process is to be served on its president, Dewey V. Guida at 3376 Main Street,

                            Weirton, West Virginia 26062. At all relevant times, it was actively engaged in the business of

                            appraising real property in the State of West Virginia.

                                    7.      Defendant Dewey V. Guida ("Guida") is an individual residing at 1012 Barone

                            Drive, Weirton, West Virginia. At all relevant times, Guida was engaged in the business of

                            appraising real property in the State of West Virginia.

                                    8.      Guida is a long term appraiser for Quicken and TSI performing more than one

                            hundred appraisals of West Virginia properties for them and receiving their highest ranking for

                            appraisers. Appraisals Unlimited and Guida have repeatedly provided Quicken with inflated

                            appraisals and were primary defendants in the predatory lending matters styled, Brown v.

                            Quicken Loans Inc., et al., Ohio County Civil Action No. 08-C-36; O'Brien v. Quicken Loans

                            Inc., et al., Ohio County Civil Action No. 09-C-376; Blankenship v. Quicken Loans Inc., et al.,

                            Ohio County Civil Action No. 10-C-80; and Duncan v. Quicken Loans Inc., et al., Ohio County

                            Civil Action No. 10-C-70.1, from whom significant relief was sought and obtained by way of

                            settlements found to be in good faith by the respective trial courts.

                                    9.      Defendant Richard W. Hyett ("Hyett") is an individual residing at RD 1 Box

                            406, Moundsville, West Virginia. At ali relevant times, Hyett was engaged in the business of
     •tt
     1P                     appraising real property in the State of West Virginia.

BORDAS                              10.     Each of the above-named Defendants is liable for the unlawful acts of the others
BORDAS                      under the doctrines of agency, joint venture, and/or civil conspiracy.
ATTORNEYS, PLLC



1358 National Road
Wheeling, VVV 26003
                              Appraisals Unlimited and Guida are also primary defendants in the pending action styled, Cline v. Quicken
t 304-242-8410              Loans Inc., et al., Marshall County Civil Action No. 11-C-38, from whom significant relief is sought.
f 304-242-3936

246 West Main Street                                                            3
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999

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              Case 5:12-cv-00114-JPB-JPM             Document 1-1         Filed 07/23/12   Page 39 of 63 PageID
                                                            #: 51



                                                         III. FACTUAL ALLEGATIONS

                                                         A.       Quicken's Standard Practices

                                             Quicken's Standard Practice Was To Communicate Target
                                           Appraisal Values To Its Appraisers In Order To Originate Loans

                                    11.    The U.S. Department of the Treasury has defined predatory lending as

                            "engaging in deception or fraud, manipulating the boffower through aggressive sales tactics, or

                            talcing unfair advantage of a borrower's lack of understanding about loan terms...that, alone or

                            in combination, are abusive or make the boffower more vulnerable to abusive practice."

                                    12.    As part of its predatory lending practices, Quicken has systematically sought to

                             influence appraisers to provide appraisal values high enough to support issuance of loans.

                                    13.    One of the ways Quicken Loans has sought to influence appraisers is to provide

                            the appraisers with suggested or estimated values on appraisal request forms before the

                            appraisers provide their appraisal reports.

                                    14.    The practice of influencing appraisers has long been condemned by regulators,

                            government agencies, the Appraisal Foundation, and others.

                                    15.    In Brown v. Quicken Loans, Inc., et al., Civil Action No. 08-C-36 (Cir. Ct. of

                            Ohio County) (Recht, J.), the Court determined that such a practice is contrary to the common

                            law and consumer protection statutes of West Virginia, and concluded that Injo legitimate

                            purpose is served by providing an appraiser with an estimated value of a property. The only

                            purpose could be to inflate the true value of the property."
     1P                             16.    To obtain a Quicken mortgage loan, a boffower is required to pay the cost of the
BORDAS
                            appraisal. Quicken charged borrowers, including the Plaintiffs, for the appraisal cost, but did
BORDAS
ATTORNEYS, PLLC
                            not inform them of its efforts to influence the appraisal by passing on target appraisal values to

1358 National Road          purportedly independent appraisers.
Wheeling, VVV 26003
t 304-242-8410
f 304-242-3936

246 West Main Street                                                         4
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999

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              Case 5:12-cv-00114-JPB-JPM              Document 1-1      Filed 07/23/12     Page 40 of 63 PageID
                                                             #: 52



                                   17.       Quicken Loan's actions in compromising the integrity of the appraisal process

                            rendered its appraisals unreliable and worthless.

                                                            Quicken's Standard Practice Was
                                                         To Assess Unlawful And Excessive Fees

                                   18.       After Quicken Loans obtained an appraisal value sufficient to sustain the loan,

                            Quicken employed standard practices to charge borrowers, including the Plaintiffs, excessive

                            and unlawful fees.

                                    19.      For instance, Quicken would charge borrowers false, excessive, and unlawful

                            fees for, inter alia, notarial services, document preparation, courier services, and bogus "loan

                            discount" charges.

                                   20.       These fees violate applicable law, and have enriched Quicken at the expense of

                            its borrowers.

                                                     Quicken's Standard Practice Was To Provide
                                                 Borrowers With Unsigned Copies Of Loan Documents

                                   21.       The loans at issue in this case are primary mortgage loans, see W. Va. Code §

                            31-17-1(m), and therefore are subject to the requirements of the Residential Mortgage Lending

                            Act.

                                   22.       At closing, Quicken provided West Virginia borrowers with a thick packet of

                            unsigned loan documents. The packet included documents such as an amortization schedule,

                            appraisal, payoff statement, invoices for closing-related services, insurance information, escrow
     ossi
     1P                     disclosures, loan disbursement statement, note, deed of trust, and other critical loan documents.

BORDAS                             23.       The Residential Mortgage Lending Act provides that "[a] borrower must be
BORDAS                      given a copy of every signed document executed by the borrower at the time of closing." W.
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                            Va. Code § 31-17-8(j)(6).
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               Case 5:12-cv-00114-JPB-JPM             Document 1-1       Filed 07/23/12      Page 41 of 63 PageID
                                                             #: 53



                                   24.       Despite this requirement, West Virginia borrowers, including the Plaintiffs, did

                            not receive a copy of every signed document they executed at the time of closing.

                                                   Quicken's Standard Practice Was To Charge Fees
                                                  Prohibited By The Residential Mortgage Lending Act

                                   25.       The Residential Mortgage Lending Act provides that "[e]xcept for fees for

                            services provided by unrelated third parties for appraisals, inspections, title searches and credit

                            reports, no application fee may be allowed" except in certain limited circumstances

                            inapplicable in mortgage refinancing cases. See W. Va. Code § 31-17-8(g).

                                   26.       Notwithstanding this limitation, Defendant Quicken charged West Virginia

                            borrowers, including the Plaintiffs, a fee payable to Title Source, Inc.

                                   27.       At the time each loan was closed, Title Source, Inc. was not an unrelated third

                            party, but instead was an affiliate of Defendant Quicken.

                                   28.       The fees designated for Title Source, Inc. cannot be charged under the

                            Residential Mortgage Lender Act.

                                                        B.     The Named Plaintiffs' Allegations

                                                                    The Alig 2007 loan

                                   29.       In late 2007, Quicken Loans solicited the Aligs to refinance their existing

                            mortgage loan.

                                    30.      Quicken Loans arranged for Defendants Guida and Appraisals Unlimited to

     oftt                   appraise the Aligs' home.
     IP                             31.      Upon information and belief, Quicken followed its standard unlawful practice of
BORDAS
                            sending Defendants Guida and Appraisals tinlimited an appraisal request form that included a
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                            target appraisal value in the form of an "estimated value."

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               Case 5:12-cv-00114-JPB-JPM              Document 1-1        Filed 07/23/12       Page 42 of 63 PageID
                                                              #: 54



                                    32.      Defendants Guida and Appraisals Unlimited issued an appraisal report stating

                            that, as of December 17, 2007, the market value of the Aligs' home was $125,500.

                                    33.      In fact, the market value of the home as of that date was $99,500, a fact the

                            Aligs did not discover until 2011.

                                    34.      Through its appraisal, Quicken Loans materially misrepresented the market

                            value of the Aligs' property.

                                    35.      The Aligs justifiably relied on this misrepresentation, to their detriment.

                                    36.      In reliance on the appraisal, on or about December 27, 2007, the Aligs executed

                            a promissory note in the principal sum of $112,500.00; the note was secured by a deed of trust

                            on the Aligs' property in favor of Quicken Loans (the "Alig 2007 loan").

                                    37.      Quicken charged the Aligs $7,043.00 for origination and closing costs. These

                            points, fees a.nd costs were excessive, at least in part, because they were not bona fide, actually

                            incurred by Quicken, reasonable, authorized by contract, or authorized by West Virginia law.

                            The Settlement Statement for this loan is attached as Exhibit A.

                                    38.      The unlawful fees include:

                                             a. Excessive fees for notary services;

                                             b. $260.00 for the bogus Guida/Appraisals Unlimited appraisal;

                                             c. $45.00 for an "Express Mail/Courier Fee" that does not truly reflect the cost
                                                of any express mail or courier service provided with respect to the Alig 2007
                                                loan; and
     •rt
     1P                                      d. A "loan discount fee" of 3.5% of the loan amount, or $3,953.25.

BORDAS                              39.      The loan discount fee purportedly was . a charge for the Aligs to "buy down"
BORDAS                      their interest rate.
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                                    40.      In fact, the loan discount fee did not reduce the Aligs' interest rate at all.
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               Case 5:12-cv-00114-JPB-JPM             Document 1-1        Filed 07/23/12      Page 43 of 63 PageID
                                                             #: 55



                                   41.       Instead, the loan discount fee was simply part of a compensation package

                            Quicken provided to its agents or "mortgage bankers." The package gave Quicken's mortgage

                            bankers the discretion to charge a rate/point/fee structure that exceeds the structure for which

                            its customers qualified. Quicken refers to the revenue generated by the loan discount fee as a

                            "premium," and splits the proceeds between itself and its loan agents.

                                   42.       Quicken Loans' misrepresentation of the loan discount fee is materially false,

                            deceptive, and unfair.

                                   43.       The Aligs did not discover the true nature of these excessive charges until 2011.

                                   44.       The Aligs did not receive signed copies of all loan documents from Quicken at

                            the closing of the 2007 loan.

                                                                     The Alig 2011 loan

                                   45.       In late 2010, Quicken Loans solicited the Aligs to refinance their mortgage loan

                            a second time.

                                   46.       Appraiser Lucas R. Johnson issued an appraisal report stating that as of

                            November 22, 2010, the market value of the Aligs' property was $115,000.

                                   47.       That value was false. At the time, the market value of the Aligs' property was

                            approximately $99,500.00.

                                   48.       Through its appraisal, Quicken Loans materially misrepresented the market

                            value of the Aligs' property.
     •rni
     1P                            49.       The Aligs justifiably relied on this misrepresentation, to their detriment.

BORDAS                             50.       In reliance on the appraisal, on or about January 18, 2011 the Aligs executed a
BORDAS                      promissory note in the principal sum of $113,524.00; the note was secured by a deed of trust on
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                            the Aligs' property in favor of Quicken (the "Alig 2011 Loan").
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1        Filed 07/23/12      Page 44 of 63 PageID
                                                             #: 56



                                   51.       Quicken charged the Aligs $5,054 for origination and closing costs. These

                            charges were excessive, at least in part, because they were not bona fide, actually incurred by

                            Quicken, reasonable, authorized by its contracts with the Aligs, or authorized by West Virginia

                            law. The Settlement Statement for this loan is attached as Exhibit B.

                                   52.       The Aligs were charged a standard fee of $45.00 for an "Express Mail/Courier

                            Fee" that does not truly reflect the cost of any express mail or courier service provided with

                            respect to the Alig 2011 Loan.

                                   53.       The Aligs were not provided with signed loan documents.

                                                                   The Shea 2006 loans

                                   54.       In early 2006, Quicken Loans solicited the Sheas for a pre-approved home

                            purchase loan.

                                   55.       Quicken Loans arranged for Defendants Guida and Appraisals Unlimited to

                            perform an appraisal report. The report stated the market value of the home the Sheas intended

                            to purchase was $151,000 as of April 27, 2006.

                                   56.       This appraisal was false. In fact, the market value of the home was $115,500, a

                            fact the Sheas did not discover until 2011.

                                   57.       Through the appraisal, Quicken Loans materially misrepresented the market

                            value of the home.

                                   58.       The Sheas justifiably relied on this misrepresentation, to their detriment.
     •Nt
     1P                            59.       In reliance on the appraisal, on or about May 10, 2006 the Sheas executed two

BORDAS                      promissory notes in the principal sums of $119,475.00 and $29,875.00. The notes were
BORDAS                      secured by deeds of trust on the Sheas' property in favor of Quicken (the "Shea 2006 Loans").
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1       Filed 07/23/12     Page 45 of 63 PageID
                                                             #: 57



                                      60.    Quicken charged the Sheas $5,854 for origination and closing costs. These

                            points, fees and costs were excessive, at least in part, because they were not bona fide, actually

                            incurred by Quicken, reasonable, authorized by its contracts with the Aligs, or authorized by

                            West Virginia law. The Settlement Statement for this loan is attached as Exhibit C.

                                      61.    The excessive and unlawful fees include $260 for the bogus appraisal, and a

                            "loan discount fee" of $2,986.88, or 2.5% of the loan amount.

                                      62.    The loan discount fee, and all loan discount fees referenced in this complaint,

                            was deceptive, unlawful, unfair and improper for the same reasons stated above with respect to

                            the Aug
                                  i loans.

                                      63.    The Sheas did not discover the true nature of the excessive charges, or of the

                            bogus Guida/Appraisals Unlimited appraisal, until 2011.

                                      64.    Quicken did not provide the Sheas with copies of signed loan documents.

                                                                   The Shea 2008 loan

                                      65.    In mid-2008, Quicken Loans solicited the Sheas to refinance their 2006

                            mortgage loans.

                                      66.    Quicken Loans arranged for Defendant Hyett to appraise the Shea home. Upon

                            information and belief, Quicken followed its standard practice of sending Defendant Hyett an

                            appraisal request form that included a target appraisal value in the form of an "estimated

                            value."

     11P                              67.    Defendant Hyett issued an appraisal report stating that, as of July 2, 2008, the

BORDAS                      market value of the Sheas' home was $158,000.
BORDAS                                68.    In fact, the market value of the home as of that date was $135,000, a fact the
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                            Sheas did not discover until 2011.
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               Case 5:12-cv-00114-JPB-JPM            Document 1-1       Filed 07/23/12      Page 46 of 63 PageID
                                                            #: 58



                                   69.     Through the appraisal, Quicken Loans materially misrepresented the market

                            value of the home.

                                   70.     The Sheas justifiably relied on this misrepresentation, to their detriment.

                                   71.     In reliance on the appraisal, the Sheas executed a promissory note in the

                            principal sum of $155,548. The note was secured by a deed of trust on the Sheas' property in

                            favor of Quicken (the "Shea 2008 Loan").

                                   72.     Quicken charged the Sheas $6,817 in origination and closing costs. These

                            charges were excessive, at least in part, because they were not bona fide, actually incurred by

                            Quicken, reasonable, authorized by its contracts with the Sheas, or authorized by West Virginia

                            law. The Settlement Statement for this loan is attached as Exhibit D.

                                   73.     The unlawful fees include excessive fees for notary services; $430.00 for the

                            bogus appraisal; and $45.00 for an "Express Mail/Courier Fee" that does not truly reflect the

                            cost of any express mail or courier service provided with respect to the loan.

                                   74.     The Sheas did not discover the true nature of these excessive charges until 2011.

                                   75.     The Sheas were not provided with signed loan documents.

                                                                C.     Class Allegations

                                   76.     Plaintiffs bring this action on their own behalf, and on behalf of all other

                            similarly situated individuals, under Rule 23(b)(3) of the West Virginia Rules of Civil

                            Procedure.

     1P                            77.     The proposed Plaintiff class is tentatively defined as:

BORDAS                                     All West Virginia citizens at the time of the filing of this action who,
                                           within the applicable statute of limitations preceding the filing of this
BORDAS                                     action through the date of class certification, obtained mortgage loans
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                                           from Defendant Quicken, and (a) were provided unsigned loan
                                           documents at closing, (b) were assessed loan discount, courier, or notary
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               Case 5:12-cv-00114-JPB-JPM             Document 1-1         Filed 07/23/12    Page 47 of 63 PageID
                                                             #: 59



                                            fees, or (d) for whom Quicken obtained appraisals through an appraisal
                                            request form that included an estimate of value of the subject property.

                                   78.      Rule 23(a) provides that "[o]ne or more members of a class may sue or be sued

                            as representative parties" if the requirements of the Rule are met. W. Va. R. Civ. P. 23(a)

                            (emphasis added).

                                   79.      Under this Rule, Plaintiffs bring this action against a class of Defendant

                            Appraisers. The named representative appraisers are Defendants Guida and Hyett.

                                   80.      The proposed class of Defendant Appraisers consists of:

                                            All real estate appraisers who are citizens of the State of West Virginia at
                                            the time of the filing of this action and who performed appraisals in
                                            connection with home-secured loans on West Virginia on behalf of
                                            Quicken after receiving an appraisal request form with an estimate of
                                            value on it.

                                    81.     The requirements of Rule 23 are satisfied.

                                    82.     The classes are so numerous that joinder of all members is impracticable.

                                    83.     There are questions of law and fact common to all members of the class.

                                    84.     The named Plaintiffs' claims are typical of those of the class as a whole.

                                    85.     The Plaintiffs have displayed an interest in vindicating the rights of the class

                            members, will fairly and adequately protect and represent the interest of the class, and are

                            represented by skillful and knowledgeable counsel. The relief sought by the named Plaintiffs

                            will inure to the benefit of the class generally.

     •rni                          86.      The common questions of law and fact predominate over individual questions,
     1P                     and the class action device is superior to other available methods for the fair and efficient
BORDAS
                            adjudication of the controversy.
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              Case 5:12-cv-00114-JPB-JPM             Document 1-1       Filed 07/23/12      Page 48 of 63 PageID
                                                            #: 60



                                                               IV. LEGAL CLAIMS

                                            A.      Claims on Behalf of Plaintiffs and the Proposed Class

                                                            Count One--Civil Conspiracy
                                                              (Against all Defendants)

                                   87.     Plaintiffs incorporate the preceding paragraphs by reference.

                                   88.     By their conduct alleged above, all Defendants and the Defendant Appraiser

                            Class engaged in concerted action to accomplish an unlawful purpose or to accomplish some

                            purpose, not in itself unlawful, by unlawful means.

                                   89.     As alleged above, this conduct caused injury to the Plaintiffs.

                                   90.     By their conduct alleged above, these Defendants have engaged in an unlawful

                            civil conspiracy.

                                   91.     These Defendants combined their money, time, and experience to close the

                            subject loans. Each act undertaken above was in furtherance of and within the scope of this

                            joint effort. Each Defendant benefited from the joint acts.

                                                                  Count Two—UDAP
                                                                (Against all Defendants)

                                   92.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   93.     By their conduct, each Defendant and the Defendant Appraiser Class engaged in

                            unfair or deceptive acts or practices in violation of W. Va. Code § 46A-6-104.

                                   94.     This conduct includes, but is not limited to:

     1P                                    a.      Depriving Plaintiffs of the benefit of their bargain—specifically, of a fair
                                                   and unbiased appraisal—by providing value estimates to appraisers and
BORDAS                                             the acceptance of appraisal orders which contained value estimates.
BORDAS                                     b.      Omitting and concealing from Plaintiffs the material fact that value
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                                                   estimates were being provided to the appraisers.

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             Case 5:12-cv-00114-JPB-JPM             Document 1-1        Filed 07/23/12      Page 49 of 63 PageID
                                                           #: 61



                                           c.     Defendant Quicken Loans charged numerous unlawful fees as alleged
                                                  herein. Each unlawful fee constitutes a violation of W. Va. Code § 46A-
                                                  6-104.

                                           d.      Defendant Quicken Loans misrepresented the nature of the "loan
                                                   discount fee." This fee provides no discount to borrowers, but is in fact a
                                                   duplicative broker/lender fee, and is not authorized under West Virginia
                                                   law.

                                                  Count Three—Residential Mortgage Lending Act
                                                              (Against Quicken)

                                  95.      Plaintiffs incorporate herein each allegation in this Complaint.

                                  96.      The "Express Mail/Courier Fees," "Loan Discount Fees," and notary fees are

                            not authorized by W. Va. Code § 31-17-8 (c), (g), and (m)(1).

                                  97.      The "Loan Discount Fee" is in fact a duplicative broker and lender fee, and is

                            misleadingly characterized as a loan discount fee.

                                  98.      The "Express Mail/Courier Fees" are excessive, and exceed or misrepresent the

                            fees actually charged by third-party courier services.

                                  99.      The notary fees are excessive, and exceed or misrepresent the fees actually

                            charged by the third-party notaries performing notary services.

                                                       Count Four—Unconscionable Contract
                                                                (Against Quicken)

                                   100.    Plaintiffs incorporate herein each allegation in this Complaint.

                                   101.    Plaintiffs incorporate the preceding paragraphs by reference.

     •Fis                          102.    As a result of Defendant Quicken's conduct as alleged above—including, but
     ■P                     not limited to, its passing on target appraisal values to appraisers, charging of illegal fees, and
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                            providing unsigned loan documents to borrowers—all or part of the subject loans were
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                            unconscionable at the time they were made, or were induced by unconscionable conduct. See

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                            W. Va. Code § 46A-2-121(1).
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               Case 5:12-cv-00114-JPB-JPM             Document 1-1       Filed 07/23/12      Page 50 of 63 PageID
                                                             #: 62



                                          Count Five--Real Estate Appraiser Licensing & Certification Act
                                                        (Against Defendant Appraiser Class)

                                   103.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   104.     Plaintiffs bring this Count on their own behalf, and on behalf of the proposed

                            Plaintiff Class, against the Defendant Appraisers and the proposed Defendant-Appraiser Class.

                                   105.     The Defendant Appraisers and the Defendant-Appraiser Class accepted

                            assignments listing target value numbers on appraisal request forms, and accepted fees

                            contingent upon the reporting of a predetermined value, all in violation of W. Va. Code §§ 30-

                            38-12(3) d 30-38-17.

                                   106.     As a result of these violations, Plaintiffs suffered damages, including the costs of

                            their appraisals.

                                                          Count Six—Unauthorized Charges
                                                                . (Against Quicken)

                                   107.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   108.     Plaintiffs bring this Count on their own behalf, and on behalf of the proposed

                            Plaintiff Class, against Defendant Quicken Loans.

                                   109.     Defendant Quicken Loans charged Plaintiffs and Plaintiff Class members

                            numerous unlawful fees.

                                   110.     Defendant Quicken Loans charged "Express Mail/Courier Fees" in the amount

                            of $45, and "Loan Discount Fees" in the amount of a percentage of the loan amount, and often
     okt
     1P                     amounted to several thousand dollars. Such fees are not authorized charges under W. Va. Code

BORDAS                      § 46A-3-109(a) because they are not authorized closing costs or official fees as defined in W.
BORDAS                      Va. Code §§ 46A-1-102(7) and (28).
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1        Filed 07/23/12       Page 51 of 63 PageID
                                                             #: 63



                                   111.    The "Loan Discount Fee," contrary to its name, provides no "discount" to the

                            borrower. To the contrary, it is in fact a second (and impermissible) broker/origination fee.

                                   112.     Defendant also charged Plaintiffs and Plaintiff Class members unlawful notary

                            fees. Notary fees, such as those charged by Defendants, are not allowable closing costs under

                            W. Va. Code § 46A-1-102(7)(d) because under W. Va. Code § 29C-4-301, the maximum

                            notary fee that may be charged is $2.00.

                                   113.     These illegal fees violate W. Va. Code § 46A-2- / 28(d), which prohibits the

                            collection of fees or charges incidental to the principal obligation if not allowable by law.

                                                           Count Seven—Breach of Contract
                                                                  (Against Quicken)

                                   114.     Plaintiffs incorporate herein each allegation in this Complaint.

                                   115.     Plaintiffs bring this Count on their own behalf, and on behalf of the proposed

                            Plaintiff Class, against Defendant Quicken Loans.

                                   116.     Quicken Loans has a duty of good faith and fair dealing implied in every

                            contract that neither party shall do anything which will have the effect of destroying or injuring

                            the right of the other party to receive the benefit of their contract.

                                   117.     Prior to the consummation of loans, including the above describe loans, Quicken

                            Loans requires potential borrowers, including the Plaintiffs and Plaintiff Class members, to

                            submit a deposit to be used to pay for appraisals and borrowers, including the Plaintiffs, are

     •111                   required to sign a contract typically titled Interest Rate Disclosure and Deposit Agreement
     ■P                     pertaining to each party's rights and responsibilities with respect to payrnent for appraisals.
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                            Plaintiffs along with Quicken Loans executed such a contract.
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                                   118.     Quicken breached its contracts by:

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               Case 5:12-cv-00114-JPB-JPM              Document 1-1        Filed 07/23/12      Page 52 of 63 PageID
                                                              #: 64



                                              a.     Depriving Plaintiffs of the benefit of their bargain – specifically, of a fair
                                                     and unbiased appraisal – by providing value estimates to appraisers; and

                                              b.     Omitt.ed or concealing from Plaintiffs the material fact that value
                                                     estimates were being provided to the appraisers.

                                   119.       Quicken's conduct constitutes a breach of the duty of good faith and fair

                            dealing.

                                   120.       As a direct and proximate result of these breaches, Plaintiffs suffered damages,

                            including the cost of the compromised, false and unreliable appraisals.

                                                     Count Eight—Negligence and Negligence Per Se
                                                                (Against all Defendants)

                                   121.       Plaintiffs incorporate herein each allegation in this Complaint.

                                   122.       The Defendants, Appraisals Unlimited, Guida, and Hyett in making the false

                            appraisals as hereinabove alleged, breached the standards for professional practice in violation

                            of W. Va. Code § 30-38-17.

                                   123.       In addition, Defendants, Appraisals Unlimited, Guida, and Hyett breached the

                            duty of care that is required in the appraisal industry, by negligently issuing erroneous appraisal

                            reports upon which the parties relied.

                                   124.       As a direct and proximate result of the above-described conduct, the Plaintiffs

                            are entitled to actual damages, as hereinabove described, and a civil penalty pursuant to W. Va.

                            Code § 30-38-15(c).

  sinit                                                B.      Claims by the Named Plaintiffs Only
  111P                                              Count Nine—Fraud/Intentional Misrepresentation
BORDAS                                                         (Against all Defendants)
BOliDAS                                125. Plaintiffs incorporate herein each allegation in this Complaint.
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              Case 5:12-cv-00114-JPB-JPM              Document 1-1       Filed 07/23/12     Page 53 of 63 PageID
                                                             #: 65



                                    126.    Quicken Loans by way of its acts, omissions and concealments, intentionally

                            made representations to the Plaintiffs that were false and/or made representations with a

                            reckless disregard as to their veracity.

                                    127.    Quicken Loans intended to induce the Plaintiffs to act based on its

                            misrepresentations.

                                    128.    Quicken Loans misrepresentations as to the value of Plaintiffs' properties played

                            a substantial part in inducing the Plaintiffs to enter into the above described loan agreements.

                                     129.   Such reliance on Quicken Loans misrepresentations by the Plaintiffs was

                            justified.

                                     130.   The Plaintiff further reasonably relied upon the procedures of origination being

                            proper and consistent with prudent industry practices when entering into this loan agreement.

                                     131.   As a direct and proximate result of Quicken Loans misrepresentations, as

                            hereinabove alleged, the Plaintiffs suffered actual damages as hereinabove described.

                                     132.   The conduct of Quicken Loans and TSI, as hereinabove alleged, was done

                            willfully, wantonly, recklessly and/or with complete indifference to their obligations under

                            West Virginia law. Furthermore, the Defendants Quicken Loans and TSI regularly engage in

                            this type of conduct.

                                     133.   The Plaintiffs, in addition to compensatory damages, should be awarded

                            punitive damages in an amount that will punish Quicken Loans and its agent and joint venture
     olt
     4P                     partner TSI for their wrongful conduct and will deter them and other similarly situated

BORDAS                      institutions from engaging in similar conduct in the future.
BORDAS                               134.   Plaintiffs are further entitled to appropriate equitable relief and the reasonable
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                            attorney fees and costs incurred in this action.
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               Case 5:12-cv-00114-JPB-JPM             Document 1-1       Filed 07/23/12     Page 54 of 63 PageID
                                                             #: 66



                                                Count Ten—Illegal Loans in Excess of Fair Market Value
                                                               (Against all Defendants)

                                    135.    Plaintiffs incorporate herein each allegation in this Complaint.

                                    136.    Defendants Quicken Loans and TSI induced the Plaintiffs into loan transactions

                            that exceeded the fair market value of the Plaintiffs' property in violation of W. Va. Code § 31-

                            17-8(m)(8).

                                    137.   Defendants cannot meet their burden of establishing the elements of the

                            affirmative defense set forth in W. Va. Code § 31-17-8(m)(8), as the appraisals at issue do not

                            reflect independent valuations, were not bona fide and do not conform to the Uniform

                            Standards of Professional Appraisal Practice ("USPAP").

                                    138.   As a direct and proximate result of these willful violations, the Plaintiffs are

                            entitled to the following statutory relief: actual damages, to have the loan declared void and to

                            attorneys' fees and costs under W. Va. Code § 31-17-17.

                                    139.   The conduct of the Defendants Quicken Loans and TSI, as hereinabove alleged,

                            was done willfully, wantonly, recklessly and/or with complete indifference to their obligations

                            under West Virginia law. Furthermore, the Defendants Quicken Loans, and TSI regularly

                            engage in this type of conduct.

                                    140.   The Plaintiffs, in addition to compensatory damages, should be awarded

                            punitive damages in an amount that will punish these Defendants for their wrongful conduct

     •I■                    and will deter them and other similarly situated institutions from engaging in similar conduct in
     11P                    the future.
BORDAS
                                                               V. RELIEF SOUGHT
BOliDAS
ATTORNEYS, PLLC
                                    On their own behalves, and on behalf of the proposed Plaintiff Class, Plaintiffs seek the

1358 National Road          following relief:
Wheeling, WV 26003
t 304-242-8410
f 304-242-3936
246 West Main Street                                                        19
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999
bordaslaw.com
              Case 5:12-cv-00114-JPB-JPM    Document 1-1           Filed 07/23/12   Page 55 of 63 PageID
                                                   #: 67



                             a.    Certification of the proposed classes;

                             b.    Judgment on all counts, together with an award of all available relief;

                             c.    A declaration that Defendants' acts were unlawful;

                             d.    Injunctive relief ordering the Defendants to cease engaging in the conduct
                                   described herein;

                             e.    For each act or practice found to constitute an unfair or deceptive act or practice,
                                   a penalty of the greater of $200 or actual damages under W. Va. Code § 46A-6-
                                   106;

                             f.    For each violation of Chapter 46A, including but not limited to each assessment
                                   of an illegal fee, a civil penalty up to the maximum as provided for under W.
                                   Va. Code § , 46A-5-101 & 106;

                             g.    The voiding or modification of the mortgage loans, or a declaration to this
                                   effect, for all class members under W. Va. Code §§ 31-17-17 & 46A-2-121;

                             h.    Disgorgement and restitution of all illegal loan fees;

                             i.    Actual,. compensatory, and punitive damages;

                             j.    Attomeys' fees and costs;

                             k.    Pre- and post-jUdgment interest; and

                             1.    All other appropriate relief.


                                                     JURY TRIAL DEMANDED




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                                                                            JA ON E. CAUSEY #9482
BORDAS                                                                      B' RDAS & BORDAS, PLLC
                                                                               58 National Road
BORDAS                                                                          eeling, WV 26003
ATTORNEYS, PLLC
                                                                            (304) 242-8410

1358 National Road                                                          and
Wheeling, WV 26003
t 304-242-8410
f 304-242-3936
246 West Main Street                                                  20
St. Clairsville, OH 43950
t 740-695-8141
f 740-695-6999
bordaslaw.com
              Case 5:12-cv-00114-JPB-JPM   Document 1-1   Filed 07/23/12   Page 56 of 63 PageID
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                                                                  JOHN W. BARRETT #7289
                                                                  JONATHAN MARSHALL #10580
                                                                  BAILEY & GLASSER, LLP
                                                                  209 Capitol Street
                                                                  Charleston, WV 25301
                                                                  (304) 345-6555




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1358 National Road
Wheeling, VVV 26003
t 304-242-8410
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246 West Main Street                                         21
St. Clairsville, OH 43950
t 740-695-8141
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bordaslaw.com
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Settlement Statemen t                                                           U.S, Donortmont of HousIng
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Case 5:12-cv-00114-JPB-JPM                                    Document 1-1                  Filed 07/23/12                Page 60 of 63 PageID
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    103. Borrowor's sottlement chor es line 1400                        6854.00 403.
    104.       •    -                                                                404.                     .
    105. 1                                                               405.
    Atuettnents for. Itemsnlitil soller 1n advance                       Adjusbnents for Itemsnyl by tollor in advance
    100. CIttltewn faxes               to                        0.00 408. Cyy/town loxes                         to                     0.0.0-
    107. County texos        .         to                      . 0.00 407. County taxes                           to                     0.00
    108. Assesements      6/10/00      to 0130/08           • 10.60 400. Assessments -               6/10/06      to 6/30106           .19.0e,
     109.                                  kt                    0,00 406.                                        to                     0.00
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     111.          '                                          .           411.                                  ,     -
     112. .                                                               412.                                             -
     113.                                        _                        413.                                             -
     120, Gross Amount Due froin Borrowor .              156,214.88 420. Oross Amount Dtro to Settor                             149 300.08
     200. Anlounts Faid btor In BahaIf of Borrowor:                       600, RoductIono In Amount Duo to SplIor:
     201. DeposIts or earnest money                                       601. Excess depoall (ftee Instrucflone)                              .
     202. PrInclpal amount of new loan(s)                119,475,00 602. Sofitoment char . os to se1ler IIne 1400                     803.80
     203. Eidallno loan(s) faken subjectlo__L____                         50Lt_exIslIn ter_deltti alte st,tolls3
     204.                                                                 604. Payoff of first modkago to The Citlions Benk       34 235.55
     205. Credlt for appljoatton doposIt          ...*.       350.00 pos.,Poyoff of socond morfgago -
     206. Seyorciplasollt
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     208. Proceods froM tecond forin                       213,354.02 508.           --
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     211. Comity taxes         1/1108      to 6/10100          219.65 611. County texos               1/1/05       to 5110/08         219.6iT
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      301. Gross emount duo from borroweryne 120)         166,214.130 801. Gross amount clua to seller ine 420L                   149,380.08
      302. loss amounls aId b Ifor borrower 0mG 220     j52 740.37 002. Less reduclIons In emount due sellor (fine 620)            39,466.00
      303. Cosh           from       to Borrower             2,400.31 003. Cash_gato                  noq from Soller   ..        109,891.78

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                                                                  SubstRuto FOTITI 1000 Soltor Stotomont                        ■••■■•■••■■■•■••




         The Informodon In Blocks E, G, H. I & Ilno 401 (or.filine 401 is estedsked. Ilne 403 and 404)1s Impattant tax InformatIon and to bolno furnishad
         io tho Internal Revenuo Servtco. If you aro raoutrod to file a retum, a sanction will bo imposed on you If thls tlom ls requIred to be reporlod untl
         ilte IRS determines thot II has not boon roported. 1f tbie roal ostate Is your prIncfpal resktenco, file Form 2119, Salo or Exchanao of Prinoloal
         Roaldonoo, for any goln, wilh your Inoome tax retum: for othor trensoclions, complote tho opplIcabte ports of Form 4707. Forrn 6252 and/or
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         you do not provIdo tho Sottlomont Agont wIlb your taxpayer Identification cturnber, you may bo subject 10 cl y 11 or crininal pona gios imposed by
         lew. Under ponaltIes of porjucy, I cortify that tho number shown on Ihls statemont Is my correct taxpayor Identification number.


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